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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION


    CROW INDIAN TRIBE, et al.,              Case No. 9:17-cv-00089-DLC-JCL

              Plaintiffs                       Consolidated with:
                                               CV 17-117-M-DLC;
        v.                                     CV 17-118-M-DLC;
                                               CV 17-119-M-DLC;
    UNITED STATES OF AMERICA,                  CV 17-123-M-DLC; and
    et al.,                                    CV 18-016-M-DLC

              Federal Defendants,           RESPONSE TO PLAINTIFFS’
                                            STATEMENT OF FACTS IN
        and                                 SUPPORT OF PLAINTIFFS’
                                            MOTIONS FOR SUMMARY
    STATE OF WYOMING, et al.,               JUDGMENT

              Defendant-Intervenors.


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              Pursuant to Local Rule 56.1(b), Federal Defendants submit this

response to Plaintiffs’ Statement of Facts, ECF_187 and Plaintiff

Robert Aland’s separate Statement of Facts, ECF_187-1, Ex. A.

Organizational Plaintiffs’ Statement of Facts

The grizzly bear (Ursus arctos horribilis)

                1.             Grizzly bears (Ursus arctos horribilis) are a subspecies of

    brown bear (U. arctos) that occur in North America, Europe, and

    Asia. 82 Fed. Reg. 30,502, 30,505 (June 30, 2017).

    Response: Partially disputed. The subspecies U. a. horribilis is

    limited to North America. Brown bears occur in North America,

    Europe, and Asia. 82 Fed. Reg. at 30,505.1

                2.             Adult grizzly bears are normally solitary animals, except

    when females have dependent young or when bears gather at

    concentrations of rich food sources like bison carcasses, spawning

                                                            
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     Plaintiffs
           initially cite to the Federal Register for the 2017 Rule, among
other documents. 82 Fed. Reg. 30502 (June 30, 2017). Thus, Federal
Defendants used the same citations for the ease of anyone reviewing
their response to Plaintiffs’ statement of facts. However, Plaintiffs shift
between Federal Register citations and Administrative Record citations
for the same documents throughout their statement of facts.
FWS_Rel_Docs:001435. To be consistent, Federal Defendants
continued to use the Federal Register citations throughout the
response.
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    trout streams, root fields, watering spots, and/or army cutworm moth

    sites. 82 Fed. Reg. 30,505. Grizzly bears are not territorial and home

    ranges for bears frequently overlap. Id.

    Response: Partially disputed. The 2017 Rule does discuss the

    concentration of bears at food sources. FWS is unsure of the

    Plaintiffs’ source for the second part of the first sentence regarding

    bears gathering “at concentrations of rich food sources like bison

    carcasses, spawning trout streams, root fields, watering spots, and/or

    army cutworm moth sites.”

         3.    Home range size for grizzly bears is affected by resource

    availability, sex, age, and reproductive status. 82 Fed. Reg. 30,505.

    Females with cubs-of-the-year or yearlings have the smallest home

    range size. Id. Adult male grizzly bears in the Greater Yellowstone

    Ecosystem (“Yellowstone region”) have a home range of

    approximately 309 square miles. Id. Adult female home ranges in

    the Yellowstone region are approximately 81 square miles. Id. Large

    home ranges for adult males helps enhance maintenance of genetic

    diversity in the population by enabling males to mate with

    numerous females. Id.


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    Response: Undisputed.

         4.    Grizzly bears mate from May through July. 81 Fed. Reg.

    13,174, 13,177 (Mar. 11, 2016); FWS-LIT-019230. The majority of

    mating occurs in June. Id. A female’s fertilized embryo does not

    implant into the uterus for further development until late fall. Id.

    Greater fat stores obtained by female grizzly bears at the end of the fall

    are positively correlated with earlier birth dates and quicker growth

    rates for cubs. Id. Females may have a body fat threshold below which

    females may not produce cubs. Id. Cubs are born in the den in late

    January or early February and nurse for three to four months inside

    the den. Id. Cubs remain with their mother for 1.5 to 2.5 years. Id.

    Response: Undisputed.

         5.    Grizzly bears have one of the slowest reproductive rates

    among all terrestrial mammals. 81 Fed. Reg. 13,177; FWS- LIT-

    019230. The average age of first reproduction by a grizzly in the

    Yellowstone region is six years old. Id. Litter size ranges from one to

    four cubs with a mean litter size of 2.04 cubs. Id. The average time

    between litters in the Yellowstone region is 2.78 years. Id. It takes a

    female grizzly bear ten or more years to replace herself in the

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    population. Id. Grizzly bears cease reproducing in their twenties. Id.

    The grizzly bear’s limited reproductive capacity “precludes any rapid

    increase in the population.” FWS-LIT-14545.

    Response: Partially disputed. Bears in the Greater Yellowstone

    Ecosystem may have their first reproduction between 3 and 8 years of

    age. 81 Fed. Reg. at 13,177. The mean litter size from 1983-2001 was

    2.04 and 2.12 from 2002-2011. Id. Additionally, the source cited by

    Plaintiffs states that it “may take” a female grizzly bear 10 or more

    years to replace herself in a population. Id. Grizzly bear females cease

    reproducing “some time in their mid-to-late 20s.” Id.

         6.    Grizzly bears in the contiguous United States occupy dens

    for four to six months each year, beginning in October or November. 81

    Fed. Reg. 13,177; FWS-LIT-019230. In preparation for hibernation,

    bears increase their food intake dramatically during a stage called

    hyperphagia. Id. Hyperphagia occurs throughout the two to four

    months prior to den entry (August through November). Id. During this

    period, excess food is converted into fat and grizzly bears gain as many

    as 3.64 pounds per day. Id. Grizzly bears must consume food rich in

    protein and carbohydrates in order to build up fat reserves to survive


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    denning and post denning periods. Id. Fat stores are important for

    hibernating bears, as they are a source of energy and insulation. Id.

    Fat stores are equally important in providing energy to the bear upon

    emergence from the den, when food is still sparse relative to metabolic

    requirements. Id.

    Response: Undisputed.

         7.    Grizzly bears are omnivores and eat a wide-variety of foods.

    81 Fed. Reg. at 13,177. The ability to use a wide-variety of food

    resources is in part why the subspecies is able to occupy habitats from

    deserts to alpine mountains and everything in between. 81 Fed. Reg. at

    13,178.

    Response: Undisputed.

         8.    Grizzly bear diets are highly variable among individuals,

    seasons, years, and location. 81 Fed. Reg. at 13,178; FWS-LIT-019231.

    Response: Undisputed.

    The grizzly bear’s decline in the contiguous United States

         9.    Grizzly bears once occurred throughout the western half of

    the contiguous United States, central Mexico, western Canada, and

    most of Alaska. 82 Fed. Reg. 30,508.
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    Response: Undisputed.

          10.   Prior to European settlement, there were approximately

    50,000 grizzly bears in the western United States. 82 Fed. Reg. 30,508.

    With European settlement and government- funded bounty programs,

    grizzly bears were shot, poisoned, and trapped wherever they were

    found. Id. This resulted in dramatic declines in population numbers

    and range throughout the 1900s. Id. By the 1930s, grizzly bears had

    lost approximately 98 percent of their historic range in the western

    United States. Id.; FWS-LIT- 014540. Of the 37 grizzly bear

    populations present in the contiguous United States in 1922, 31 were

    extirpated by 1975. Id. By the early 1970s, only a few hundred grizzly

    bears remained in the contiguous United States in a few isolated

    locations. Id.

    Response: Partially disputed. Dramatic declines did not occur in

    population numbers and range “throughout the 1900s.” The source

    cited describes declines that occurred to varying degrees until the

    grizzly bear was listed in 1975 at which point population numbers

    stabilized or increased in many areas. FWS_LIT_01163-64;

    FWS_LIT_014550-51.

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         11.   In 1975, approximately 136 to 312 grizzly bears likely

    remained in the Yellowstone region. 82 Fed. Reg. 30,508. This is a

    best-guess based on an estimated minimum population size. Id.

    Accurate population estimates (actual and trend) for grizzly bears are

    difficult to obtain. 82 Fed. Reg. 30,506; FWS-LIT-014333; FWS- LIT-

    014559–60; FWS-LIT-003217. For grizzly bears, it takes at least six

    years’ worth of monitoring data and as many as 30 females with radio-

    collars to accurately estimate average annual population growth. 82

    Fed. Reg. 30,506.

    Response: Undisputed.

         12.   In 1975, the Service listed all grizzly bears in the

    contiguous United States as a threatened species under the

    Endangered Species Act (“ESA”). 40 Fed. Reg. 31,734 (July 28, 1975);

    FWS-LIT-018564.

    Response: Undisputed.

          13. The 1975 listing of grizzly bears in the contiguous United

    States as a threatened species was not the listing of a “species”

    because grizzly bears are a subspecies of brown bear. 40 Fed. Reg. at

    31,734. The 1975 listing of grizzly bears did not list all members of

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    the subspecies as a “threatened” species under the ESA because only

    grizzly bears in the lower-48 contiguous United States were protected.

    Id. The 1975 listing of grizzly bears in the contiguous United States

    as “threatened” amounted to the listing of a population segment of

    grizzly bears as a “threatened” species under the ESA. Id.; FWS-LIT-

    016078. In a 2011 five-year status review, the Service claimed that

    the 1975 listing was the listing of a “distinct population segment” or

    “distinct population segment.” FWS-LIT-016195; FWS-LIT-016170.

    Response: Disputed. 40 Fed. Reg. at 31,734; FWS_LIT_16073..

           14. In the 1975 listing, the Service determined that grizzly

    bears in the contiguous United States were threatened by a

    combination of factors. 40 Fed. Reg. 31,734; FWS-LIT-018564. The

    Service determined that grizzly bears in the contiguous United States

    had lost a significant amount of habitat and range and were now

    confined to only three regions in Montana, Idaho, and Wyoming,

    including: (1) the Selway-Bitterroot Ecosystem in Idaho; (2) the Bob

    Marshall Ecosystem in northern Montana; and the Yellowstone

    region. Id.




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    Response: Disputed. The 1975 Rule does not state that grizzly bears

    were at that point confined to “only three regions.” Rather, the rule

    states that grizzly bears occurred almost entirely in three ecosystems.

    FWS_LIT_018564.

           15. Isolation and the lack of connectivity between grizzly bear

    populations in the contiguous United States was considered a threat

    to grizzly bears in the 1975 listing. 40 Fed. Reg. 31,734; FWS-LIT-

    018564. The Service states that “in two of the three areas where

    grizzly bears still occur, the bears are isolated from other populations

    so that they cannot be reinforced, either genetically or by movement

    of individual bears.” Id.

    Response: Undisputed as to the content of the Rule.

           16. Other threats to grizzly bears identified in the 1975 listing

    included human-caused mortality, the inadequacy of existing

    regulatory mechanisms, an overall lack of data and scientific

    information on grizzly bear needs, and increasing human use of

    Yellowstone National Park and surrounding areas. 40 Fed. Reg.

    31,734; FWS-LIT-018564.

    Response: Undisputed as to the content of the Rule.


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         17.   In the 1975 listing, the Service determined that the grizzly

    bear population in the Bob Marshall Ecosystem (now referred to as

    the “Northern Continental Divide Ecosystem”) was large enough and

    had reached “population pressures” that warranted allowing limited

    regulatory taking. 40 Fed. Reg. 31,735; FWS-LIT-018565. The Service

    developed special regulations for managing “threatened” species,

    authorized by section 4(d) of the ESA, to allow more discretionary

    mortality (including limited hunting) of grizzly bears in the Bob

    Marshall Ecosystem. Id. However, in 1991, a federal district court

    invalidated and enjoined hunting grizzly bears. The Fund for

    Animals, Inc. v. Turner, Civil No. 91-2201(MB) (Sept. 27, 1991)

    (holding 50 CFR 17.40(b)(1)(i)(E) as invalid and enjoining the Service

    from authorizing Montana’s grizzly bear hunt); see also 57 Fed. Reg.

    37,478 (Aug. 19, 1992).

    Response: Undisputed, but for clarification, the federal district court

    issued a preliminary injunction preventing FWS from authorizing the

    October 1, 1991 hunt of grizzly bears in the Northern Continental

    Divide Ecosystem. 1991 WL 206232, at *9 (D.D.C. Sept. 27, 1991).




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         18.   In the 1975 listing, the existence of a large population of

    grizzly bears in one isolated population –– the Bob Marshall

    Ecosystem –– did not disqualify grizzly bears in the ecosystem or

    contiguous United States from listing. 40 Fed. Reg. 31,734; FWS-

    LIT-018564. In the 1975 listing, the Service said in the future, if the

    grizzly bear population in the Yellowstone region “recover[s] to the

    point where population pressures require removal of a part of the

    population,” consideration will be given to modifying the special 4(d)

    regulations for managing grizzly bears to allow more discretionary

    mortality. 40 Fed. Reg. at 31,735.

    Response: Disputed. FWS does not describe the population as a

    “large population.” Rather, FWS stated that the population was “large

    enough that bears are now wandering into settled areas where they

    threaten human safety and commit significant depredations on

    legally present livestock.” 40 Fed. Reg. at 31735.

         19.   The 1975 listing does not allow for the delisting (or

    exclusion from listing) of isolated grizzly bear populations in the

    contiguous United States. 40 Fed. Reg. 31,734; FWS-LIT-018564.

    The 1975 listing is designed to ensure the grizzly bear’s

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    “conservation in all three of these ecosystems and to protect any

    members of the species occurring elsewhere in the 48 conterminous

    States.” 40 Fed. Reg. 31,735; FWS-LIT-018565. The 1975 listing rule

    is designed to ensure the conservation of all grizzly bears within the

    contiguous United States, not just isolated populations. 40 Fed. Reg.

    31,735; FWS-LIT-018565.

    Response: Disputed. The 1975 listing rule is just that, a listing

    rule. It does not supersede or limit statutory language regarding

    what determinations FWS is legally authorized to make at a future

    date. FWS has the discretion to adopt different approaches to

    achieving the conservation of a species and the statute explicitly

    authorizes FWS to identify species and downlist or delist those

    species as appropriate. Further, the grizzly bear was listed before

    the “distinct population segment” language was added to the statute

    in 1978 and FWS issued a policy in 1996 interpreting that statutory

    language. With regard to Plaintiffs’ assertions about the other

    grizzly bear populations, the 2017 Rule does “does not change the

    threatened status of the remaining grizzly bears in the lower 48

    States, which remain protected by the Act.” 82 Fed. Reg. at 30503.


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    The Service’s plan to recover grizzly bears in the lower-48

          20.   The Service completed a recovery plan for threatened

    grizzly bears in the contiguous United States in 1982. FWS-LIT-

    014322. The ESA requires preparation of recovery plans. 16 §

    1533(f)(1). Recovery plans are guidance documents for the Service.

    82 Fed. Reg. 30,508. Recovery plans serve as road maps for species

    recovery because they lay out where the Service needs to go and how

    to get there. Id. Recovery plans are often modified, amended or

    supplemented based on new information or new science or new

    priorities. Id.

    Response: Partially Disputed. As Plaintiffs note, recovery plans

    may be modified when they become outdated as was the case with

    the 1982 recovery plan cited by Plaintiffs, which was replaced by the

    1993 recovery plan based on newly available information. See 82

    Fed. Reg. 30504. FWS also released supplements to the 1993

    Recovery Plan in 2007 and 2017. Id.

          21.   The objective of the Service’s 1982 recovery plan for

    grizzly bears in the contiguous United States was to “identify the

    actions necessary for the conservation and recovery of the grizzly

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    bear.” FWS-LIT-014330. The 1982 recovery plan “attempts to

    provide a sequence of actions necessary for the conservation and

    recovery of the grizzly bear in the selected areas of the conterminous

    48 states.” FWS-LIT-014330.

    Response: Undisputed as to the content of the plan.

         22.   In the 1982 recovery plan, the Service outlined the steps

    necessary to ensure the recovery of grizzly bears in the contiguous

    United States. FWS-LIT-014331. The Service identified six recovery

    ecosystems in the contiguous United States where grizzly bears are

    known to have inhabited and where suitable habitat available for

    grizzly bear conservation remains. FWS-LIT- 014330–31. These six

    ecosystems include: (1) the Greater Yellowstone Ecosystem; (2) the

    Northern Continental Divide Ecosystem; (3) the Cabinet-Yaak

    Ecosystem; (4) the Selkirk Mountains Ecosystem; (5) the Bitterroot

    Ecosystem; and (6) the North Cascades Ecosystem. FWS-LIT-

    014331.

    Response: Undisputed as to the content of the plan.

         23. In the 1982 recovery plan, the Service stated that it would

    need to “[e]stablish recovery of at least three populations in three

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    distinct grizzly bear ecosystems in order to delist the species in the

    conterminous 48 states.” FWS-LIT-014330. The Service’s 1982 recovery

    plan notes that the question of how many populations would be needed

    in order to delist the species and declare it recovered was “debated

    repeatedly” and that “[n]o one would recommend a single population in

    a single ecosystem as being adequate to provide a reasonable margin of

    safety against…systematic pressures and stochastic perturbations.”

    FWS-LIT- 014331. The Service stated in the 1982 recovery plan that

    the “conservation and recovery of three populations, as opposed to only

    one or two populations, is believed necessary to assure perpetuation of

    the species to a point that no longer requires protection of the ESA.”

    FWS-LIT-014331.

    Response: Disputed. Again, the 1975 rule pre-dates the addition of

    “distinct population segment” language to the definition of “species” in

    the ESA. Similarly, the 1982 recovery plan pre-dates FWS’s 1996

    policy interpreting the “distinct population segment” language. Thus,

    those documents do not consider potential Segments in recovery

    efforts. Moreover, contrary to what Plaintiffs imply here, FWS has not

    determined that all populations of grizzly bears have been recovered


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    based on the status of the Yellowstone Segment. FWS continues with

    its efforts to conserve listed grizzly bears.

          24.   In 1986, the Interagency Grizzly Bear Committee (“IGBC”)

    –– an organization formed to promote the conservation of grizzly bears

    on National Forest, National Park, Bureau of Land Management, and

    state lands –– published guidelines for the management of grizzly

    bear habitat to aid in recovery efforts. 51 Fed. Reg. 42,863 (Nov. 26,

    1986); FWS-LIT-012618; 82 Fed. Reg. 30,509. These guidelines were

    submitted to the Service for review and formal consultation. 51 Fed.

    Reg. 42,864; FWS-LIT-014317; FWS-LIT-012710; 82 Fed. Reg. 30,509.

    The Service determined in a Biological Opinion that implementation

    of the IGBC’s guidelines “will promote the conservation of the grizzly

    bear.” 51 Fed. Reg. 42,864; FWS-LIT-014317; FWS-LIT-012710; 82

    Fed. Reg. 30,509. The IGBC’s guidelines are designed “to provide a

    consistent and coordinated approach toward achieving grizzly bear

    recovery” as mandated by the ESA. 51 Fed. Reg. 42,864; FWS-LIT-

    014317.

Response: Partially disputed in that in 1986 the IGBC modified

guidelines that were developed in 1979. 51 Fed. Reg. at 42864. These


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guidelines were developed for “grizzly protection and management in

the National Forests, National Parks, and Bureau of Land

Management lands,” not state lands. FWS_LIT_012621. These

guidelines identify five management situations, which consider unique

management concerns based on the type of land area being managed.

FWS_LIT_012623-25. The passage that the Plaintiffs refer to

regarding the guidelines being submitted to FWS for formal

consultation and FWS concluding that the implementation of the

guidelines “will promote the conservation of the grizzly bear” refers to

the 1979 guidelines not the 1986 revised guidelines. Id. Moreover, 51

Fed. Reg. 42864 cited by Plaintiffs states the following: “In 1983, the

Secretaries of Agriculture and the Interior established an Interagency

Grizzly Bear Committee [not guidelines] to provide a consistent and

coordinated approach toward achieving grizzly bear recovery….” 51

Fed. Reg. at 42863-64 (emphasis added).

         25.   In 1993, the Service completed a revision to the 1982

    recovery plan to include additional tasks and new information on

    recovery efforts. FWS-LIT-014530. The 1993 recovery plan establishes




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    “recovery zones” for the six ecosystems identified in the 1982 recovery

    plan. FWS-LIT-014556–59; FWS-LIT-014693.

    Response: Undisputed.

         26.   The 1993 recovery plan also identifies and considers a

    seventh ecosystem –– the San Juan Ecosystem in Colorado –– as an

    additional recovery zone based on the availability of suitable habitat.

    FWS-LIT-14552; FWS-LIT-014556–57.

    Response: Partially disputed. The 1993 recovery plan does not

    “consider” the San Juan Ecosystem. It states that “[d]ecisions

    concerning the status of the San Juans as an evaluation area are

    pending.” FWS_LIT_014557.

         27.   The 1993 recovery plan uses three measurable parameters

    as indicators of population status: (a) number of females with cubs; (b)

    number of known human-caused mortalities; and (c) the distribution

    of family groups throughout the ecosystem. FWS-LIT-014560. These

    three parameters used by the Service to set recovery criteria and

    targets in the 1993 recovery plan differ from the parameters and

    criteria used in the 1982 recovery plan. FWS-LIT-014560; FWS-LIT-

    014693. The Service states that the 1993 recovery plan criteria and

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    targets are more easily measured on an annual basis. FWS-LIT-

    014693.

    Response: Partially disputed as to criteria (b), which the 1993

    Recovery Plan describes as “annual number of human-caused

    mortality.” Human-caused mortality will be measured as a percentage

    of the population estimate to allow mortality limits to adjust with

    population size. FWS_LIT_014561-62. The Plan calls for this kind of

    assessment because sustainable mortality is not about the number of

    mortalities; rather, it is about ensuring that mortality is limited to a

    rate that is offset by sufficient reproduction. FWS_LIT_014561. In any

    event, these criteria were revised by the 2007 Supplement to the

    Recovery Plan. FWS_LIT_15486. The habitat-based recovery criteria

    set out in the 2007 Supplement are centered on studies and modeling

    establishing that the protection and management of secure grizzly

    bear habitat “is one of the most effective management actions to

    ensure population persistence.” 82 Fed. Reg. at 30508.

         28.   The 1993 recovery plan recognizes the importance of

linkage between the grizzly bear recovery zones to the species’

conservation. FWS-LIT-014565; FWS-LIT-014693. The Service states

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that fragmentation of habitat and the isolation of populations is a

“major factor” contributing to the demise of wildlife species, including

grizzly bears in the contiguous United States. FWS-LIT-014693.

Response: Partially disputed in that the 1993 recovery plan states that

“[o]ne factor that may affect the sustainability of grizzly bear

populations in the future is the ability of individual animals to move

between ecosystems. Accurate information is necessary to assess the

potential for this type of movement in linkage zones….”

FWS_LIT_014565 (emphasis added). With regard to the Plaintiffs’

second sentence, FWS clarified that, the “five known grizzly bear

populations in the lower 48 states are largely if not completely isolated

from each other, although four [of these five populations] are contiguous

with Canadian bear populations.” FWS_LIT_14693.

         29.   The Service states that it is “widely accepted in

    conservation biology that island populations of any species are subject

    to high rates of extinction and that these rates are directly related to

    the size of the island. Wide ranging mammals are particularly

    sensitive to the detrimental effects of insular distribution.” FWS-LIT-

    014564. The Service states that the “five known grizzly bear


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    populations in the lower 48 states are largely if not completely

    isolated from each other.” FWS-LIT-014693.

    Response: Partially disputed. As noted in response to paragraph 28,

    FWS also states that four of the five grizzly bear populations in the

    lower 48 states are contiguous with Canadian bear populations.

    FWS_LIT_14693.

         30.   The Service states that the population of grizzly bears in

    the Yellowstone region “is completely isolated from populations in

    other U.S. ecosystems and Canada.” FWS-LIT-014694. In the 1993

    recovery plan, the Service states that the population of grizzly bears

    in the Yellowstone region is “vulnerable to the detrimental effects of

    the loss of genetic diversity, and to environmental and demographic

    stochasticity” due to its small size and isolation. FWS-LIT-014694.

    The 1993 recovery plan commits the Service to study the potential for

    linkage between the grizzly bear recovery zones and develop

    strategies to conserve, or restore where possible, the connectivity

    within and between the recovery zones. FWS-LIT-014565–66; FWS-

    LIT-014693.




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    Response: Partially disputed. In 1993, when the Yellowstone

    population was much smaller and numbered approximately 300

    bears, FWS noted that its “small size and isolation make it

    vulnerable.” FWS_LIT_014694. FWS also recognized that

    connectivity between the Yellowstone population and the other

    grizzly ecosystems “is not likely to be realized in the near future

    because of the distance to other ecosystems and the intervening

    human development and alteration of landscape. Therefore, the

    recovery plan recommends that one grizzly be placed into the

    ecosystem from an outside population every ten years as an effort to

    maintain the genetic health of the population.” Id. Currently, the

    distance has shortened between the Northern Continental Divide

    Ecosystem (NCDE) and Yellowstone populations (FWS_Rel

    Docs_001451, FWS_LIT_019418) and the genetic health of the

    Yellowstone population has improved due to the significant increase

    in population size (FWS_Rel Docs_001469, FWS_LIT_005974).

    Additionally, FWS disputes Plaintiffs’ assertion that the 1993

    recovery plan “commits” FWS to particular actions because, as




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    Plaintiffs acknowledge in paragraph 20 above, recovery plans are

    “guidance documents.”

         31.   In the 1993 recovery plan, the Service states that each

    individual ecosystem of grizzly bears will remain listed until its

    specific recovery criteria are met and that the “species throughout the

    lower 48 States can be delisted when the populations in all

    established recovery zones have been delisted.” FWS-LIT-014533.

    Response: Partially disputed in that the Plaintiffs’ statement that

    “each individual ecosystem of grizzly bears will remain listed until its

    specific recovery criteria are met” is ambiguous. In the 1993 recovery

    plan, FWS explained that the recovery objective is to delist “each of

    the remaining populations by population as they achieve the recovery

    targets,” FWS_LIT_14533, and the recovery effort is to focus on

    “establishing viable populations in the six to seven areas … where the

    grizzly was known to or believed to exist when it was listed in 1975,”

    FWS_LIT_14540; see also FWS_LIT_14558 (“Grizzly bear populations

    may be listed, recovered, and delisted separately.”).

         32.    The piecemeal recovery objective in the 1993 recovery

    plan differs from the recovery objective in the 1982 recovery plan. See

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    FWS-LIT-014330 (stating objective in 1982 recovery plan is to

    “[e]stablish recovery of at least three populations in three distinct

    grizzly bear ecosystems in order to delist the species in the

    conterminous 48 states”). The 1993 recovery plan does not alter the

    1975 lower-48 grizzly listing rule, which remains in effect. 40 Fed.

    Reg. at 31,734; 83 Fed. Reg. 18,737 (April 30, 2018). The 1993

    recovery plan’s piecemeal approach was also adopted prior to the

    Service’s 1996 distinct population segment policy, 61 Fed. Reg. 4,722

    (February 7, 1996). The Service noted that the 1993 recovery plan’s

    objective to delist individual populations, once recovery criteria are

    met, may not comply with the Service’s 1996 population segment

    policy. FWS-Del-Em-00151569–70. The Service also no longer

    considers the 1993 recovery plan to reflect the best available science.

    FWS-LIT-016080.

    Response: Disputed. To the extent that Plaintiffs imply in the first

    sentence that the 1993 recovery plan calls for an approach that

    requires less to achieve recovery than the 1982 recovery plan, that is

    incorrect. As Plaintiffs note, the 1982 recovery plan calls for the

    recovery of three populations while the 1993 recovery plan provides


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    that all six populations have to meet recovery criteria for the entire

    lower 48 to be considered recovered. Moreover, the cited email does

    not state that the recovery plan objective does not comply with the

    1996 distinct population segment policy. Rather, the email notes that

    the Cabinet/Yaak, Selkirk, North Cascades, and Bitterroot

    populations may not individually qualify as distinct population

    segments because they may not be significant to the species as a

    whole, a requirement set forth in the 1996 distinct population

    segment Policy. Moreover, if those populations lose their ESA status,

    it may be difficult to recover them. Regarding the 1993 recovery plan,

    the complete statement in the 2011 5-year review cited by Plaintiffs

    is as follows: “Except for the [Greater Yellowstone Area Ecosystem],

    the recovery plan and the associated recovery criteria have not been

    updated since the plan was released in 1993 and supplemented in

    1996 and 1997 with chapters for the [Bitterroot Ecosystem] and

    [Northern Cascades Ecosystem], respectively. Thus, the plan no

    longer reflects the best available and most up-to-date information on

    the biology of the species and its habitat.” FWS_LIT_016080-81.




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         33. In 1995, a federal district court found the Service’s 1993

    Recovery Plan violated the ESA. Fund for Animals v. Babbitt, 903 F.

    Supp. 96, 112–13 (D.D.C. 1995) (finding the Service failed to meet its

    obligation under the ESA to incorporate objective, measurable criteria

    into the Recovery Plan adequately addressing each factor that

    threatened grizzly bears, including destruction of range and genetic

    isolation). The parties in that matter subsequently reached a

    settlement that required the Service to develop habitat-based criteria

    for adoption into the Grizzly Bear Recovery Plan. See Greater

    Yellowstone Ecosystem v. Servheen, 672 F. Supp. 2d 1105, 1110 (D.

    Mont. 2009).

    Response: Undisputed as to the content of those cases.

         34. In 1996 and 1997, the Service released supplemental

    chapters to the 1993 recovery plan to direct recovery efforts in the

    Bitterroot Ecosystem and North Cascades Ecosystems. FWS-LIT-

    014705; FWS-LIT-014733; 82 Fed. Reg. 30,509. In both ecosystems, the

    Service outlined plans in the 1996 supplement and 1997 supplement to

    reintroduce grizzly bears to assist with recovery efforts. FWS-LIT-

    014707; FWS-LIT-014737.


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    Response: Disputed. The page cited from the 1997 supplement states

    that, for grizzly bears in the North Cascades, a “range of alternatives

    should be considered for recovery of this population…from no action to

    augmentation of the population in the North Cascades with bears from

    another area.” FWS_LIT_014737.

         35.   In 2007, the Service revised the 1993 recovery plan by

    updating the demographic and habitat-based recovery criteria for the

    Yellowstone region. FWS-LIT-015486; FWS-LIT-015521; 82 Fed.

    Reg. 30,509.

    Response: Disputed. FWS did not “update” the habitat-based

    recovery criteria in 2007. Rather, the habitat-based recovery criteria

    were added for the first time as part of the amendment to the

    recovery plan. The habitat-based recovery criteria establish

    objective, measureable values for levels of motorized access, secure

    habitat, developed sites, and livestock allotments that are compatible

    with a stable to increasing grizzly bear population. FWS_LIT_15521.

         36.   In 2013 and 2016, the Service proposed additional revisions

    to the 1993 recovery plan pertaining to recovery criteria for the

    Yellowstone region. 78 Fed. Reg. 17,708 (Mar. 22, 2013); FWS-LIT-


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    019025; FWS-LIT-016405; 82 Fed. Reg. 30,509. In 2017, the Service

    finalized those revisions and made changes to the 1993 recovery plan’s

    criteria for the Yellowstone region. 82 Fed. Reg. 30,502.

    Response: Partially disputed in that FWS finalized only the 2016

    revisions, not the 2013 revisions.

    The status of the Service’s recovery efforts for grizzly bears in
    the lower-48

         37.   The Service has not met the recovery objectives or goals

    from the 1975 listing rule. 40 Fed. Reg. at 31,734; FWS-LIT- 014322.

    The Service has not met the recovery objectives or goals of the original

    1982 recovery plan. FWS-LIT-014530. The Service has not met the

    recovery objectives or goals of the 1993 recovery plan, as modified and

    supplemented. 82 Fed. Reg. 30,502. Grizzly bears are not recovered

    throughout the contiguous United States. 82 Fed. Reg. 30,508. Five of

    the six known grizzly bear ecosystems in the contiguous United States

    remain isolated from one another. 82 Fed. Reg. 30,509; FWS-LIT-

    014693.

    Response: Disputed. The 1975 listing rule does not set out recovery

    objectives or goals. Thus, the Service is unsure to what Plaintiffs refer

    in the first sentence of this paragraph. Moreover, as the Plaintiffs

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    point out, the 1982 and 1993 recovery plans have been amended over

    the years to consider up-to-date information on the species’ biology

    and recovery needs and, thus, those older recovery plans no longer

    reflect the best available science. See, e.g., ¶¶ 32-33. The Service

    consistently implemented the 1993 Recovery Plan’s direction, focusing

    listing and recovery efforts separately on each Ecosystem. 82 Fed.

    Reg.at 30517. Moreover, contrary to Plaintiffs’ assertions, the

    Yellowstone population has met its recovery criteria as modified and

    supplemented. Finally, as previously noted, four of the remaining

    grizzly bear populations are connected to Canadian populations.

    FWS_LIT_14693.

         38.   The Service declined to try and recover grizzly bears to

    their historic range in Colorado’s San Juan Mountains, as it

    committed to in the 1993 recovery plan. FWS-LIT-014533; 82 Fed.

    Reg. 30,508. The Service never followed through on its plan to

    complete a “habitat analysis” and evaluate Colorado’s San Juan

    Mountains as a potential recovery area. FWS-Del-Doc-009693




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(n.2). The last grizzly bear in Colorado –– an adult female –– was shot

and killed in the San Juan Mountains in 1979. 82 Fed. Reg. at 30,509;

FWS-LIT-014552.

Response: Disputed. The 1993 recovery plan does not commit to

recovering bears in the San Juan Mountains. The plan states “[a]

seventh area, the San Juans ecosystem in Colorado, currently is being

considered for evaluation, but there has been no confirmed record of

grizzly bears in the San Juans since 1979.” FWS_LIT_014533

(emphasis added). The plan goes on to say that the “San Juan

ecosystem is being evaluated as a possible recovery zone and is not yet

considered established.” Id.

         39.   The Service has failed to restore grizzly bears to

    Washington’s North Cascades. 82 Fed. Reg. at 30,509. The last

    documented sighting in the North Cascades was in 1996 and a best-

    guess estimate is that less than 20 bears inhabit the ecosystem. Id. In

    the 1993 recovery plan the Service committed itself to develop a plan

    and the necessary planning documents to recover grizzly bears in the

    North Cascades to promote the conservation of grizzly bears

    throughout the contiguous United States. FWS-LIT-014654. In the


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    1997 supplement to the 1993 recovery plan, the Service outlined a

    plan for reintroducing grizzly bears into the North Cascades to

    promote the conservation of the species. FWS-LIT-014733. In 2013,

    the Service issued a proposed rule explaining why the grizzly bear

    population in the North Cascades warranted uplisting from

    threatened to endangered status, due to threats from its small size

    and isolation. 78 Fed. Reg. 70,104, 70,151 (Nov. 22, 2013); FWS-LIT-

    019027. In 2014, the Service, in conjunction with the National Park

    Service, initiated a National Environmental Policy Act planning

    process to explore reintroducing grizzly bears into the North

    Cascades. FWS-Del- Doc-52618; 80 Fed. Reg. 8,894 (Feb. 19, 2015).

    Public comment on the reintroduction project closed on April 28,

    2017. 82 Fed. Reg. 4,416 (Jan. 13, 2017). The outcome of this effort

    remains uncertain, as the project has been delayed and no final

    decision has been made. See

    https://parkplanning.nps.gov/projectHome.cfm?projectID=44144 (last

    visited June 10, 2018); see also

    https://docs.house.gov/meetings/AP/AP00/20180606/108402/HMKP-

    115-AP00-20180606-SD004.pdf at 11 (documenting political attempt


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    to defund North Cascades grizzly bear reintroduction effort) (last

    visited June 12, 2018). Without human intervention, North Cascades

    grizzly bears “could disappear because individual bears are

    increasingly isolated and have limited opportunity to breed.

    Indications are that this is already happening, as confirmed

    observations have become increasingly rare on both sides of the

    international border.” FWS-LIT-010095.

    Response: Partially disputed. Because Plaintiffs have cited post-

    decisional sources here, FWS directs the Court to a press release from

    March 23, 2018, discussing Secretary Zinke’s trip to Sedro-Woolley,

    Washington, to support grizzly bear restoration efforts in the North

    Cascades. https://www.doi.gov/pressreleases/secretary-zinke-

    supports-grizzly-bear-restoration-north-cascades-ecosystem (last

    visited July 9, 2018). Additionally, FWS anticipates finalizing the

    final environmental impact statement and record of decision for the

    NEPA process that Plaintiffs refer to around the end of the year.

         40.   The Service abandoned efforts to reintroduce grizzly bears

    to Idaho’s Selway-Bitterroot region. FWS-Del-Doc-52618. The

    Service’s 1982 recovery plan called for the evaluation of the Selway-


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    Bitterroot as a potential recovery area for grizzly bears. FWS-LIT-

    014331; 65 Fed. Reg. 69,624, at 69,625 (Nov. 17, 2000); FWS-LIT-

    018609. Grizzly bears historically occupied the Selway- Bitterroot. 65

    Fed. Reg. 69,625 (FWS-LIT-018609); FWS-LIT- 014706. In 1991, the

    IGBC concluded that the Selway-Bitterroot provided suitable habitat

    and could support approximately 200 to 400 grizzly bears. 65 Fed.

    Reg. 69,625; FWS-LIT-018609. The IGBC endorsed the Selway-

    Bitterroot as a grizzly bear recovery area and directed the Service to

    initiate measures to achieve recovery in the area. 65 Fed. Reg.

    69,625; FWS-LIT-018609. The Service’s 1993 recovery plan and 1996

    supplement to the recovery plan outlined a plan for reintroducing

    grizzly bears into the Selway-Bitterroot. FWS-LIT-014530; FWS-LIT-

    014705. In 2000, the Service issued a final decision and rule on the

    establishment of a non-essential experimental population of grizzly

    bears in the Selway-Bitterroot. 65 Fed. Reg. 69,624; FWS-LIT-

    018607. The Service’s decision and rule authorizes the reintroduction

    of grizzly bears into the Selway-Bitterroot pursuant to a special rule

    in order to reestablish a viable grizzly bear population in the area,




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    which is one of six grizzly recovery areas identified in the 1993

    Recovery Plan. 65 Fed. Reg. 69,624; FWS-LIT-018607.

    Response: Disputed. Although FWS has prioritized other

    ecosystems, recovery efforts for Selway-Bitterroot have not been

    “abandoned.” FWS designated the Bitterroot Ecosystem as a

    nonessential experimental population. FWS_Del_Doc_52618. The

    1982 recovery plan provides that a consensus was reached that three

    populations—Yellowstone, Northern Continental Divide, and

    Cabinet-Yaak should be given priority in recovery planning.

    FWS_LIT_014331. “If additional funding is available,” preliminary

    surveys in the Selkirk Mountains, the Selway-Bitterroot Ecosystem,

    and the North Cascades are recommended in that order. Id.

         41.   The reestablishment of a grizzly bear population in the

    Selway-Bitterroot will increase the survival probabilities and further

    the conservation of the subspecies in the contiguous United States. 65

    Fed. Reg. 69,625; FWS-LIT-018609. Reintroducing grizzly bears to

    the Selway-Bitterroot will enhance grizzly bear conservation over the

    long-term by providing an additional population and thus adding a

    measure of security for the species. Id.; FWS-Emails-033886.


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    Reintroducing grizzly bears to the Selway-Bitteroot will improve the

    chances of connectivity for grizzly bears in the Yellowstone region.

    FWS-Emails-033886.

    Response: Partially disputed. FWS notes that the 2000 rule

    establishing a nonessential experiment population in the Bitterroot

    area cited by Plaintiffs makes the stated assertions; however, the rule

    further explains that the absence of this population “will not diminish

    the survival probabilities for bears in other ecosystems.” 65 Fed. Reg.

    at 69625.

         42.    On June 22, 2001, the Service issued a proposed rule to

    remove the rule on the establishment of a non-essential experimental

    population of grizzly bears in the Selway-Bitterroot region, but this

    proposed rule was never finalized. 66 Fed. Reg. 33,620 (June 22,

    2001). Grizzly bears have not been reintroduced to the Selway-

    Bitterroot. 82 Fed. Reg. 30,509. The Service has no plans to

    reintroduce grizzly bears to the Selway-Bitterroot. “[R]eintroductions

    [to the Selway-Bitterroot] never occurred and the area remains

    unoccupied.” FWS-Del-Doc-52618.




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    Response: Partially disputed. As FWS noted above, starting from

    the 1982 recovery plan, a consensus was reached that priority should

    be given to the Yellowstone, Northern Continental Divide, and

    Cabinet-Yaak populations in recovery planning. FWS_LIST_014331.

    Nevertheless, FWS confirmed in the 2017 Rule that FWS is

    “committed to pursuing grizzly bear recovery in the five remaining

    Recovery Zones identified in the 1993 Grizzly Bear Recovery Plan.”

    82 Fed. Reg. at 30623.

         43.   The grizzly bear population in Montana’s Cabinet-Yaak

    region experiences high levels of human-caused mortality and is

    likely in decline. FWS-LIT-016091. Any population increases in the

    Cabinet-Yaak are attributed to Montana’s and the Service’s

    augmentation of the population with additional females. FWS-LIT-

    016092. Approximately 48 grizzly bears inhabit the Cabinet-Yaak

    region. 82 Fed. Reg. 30,509. None of the Service’s 1993 demographic

    recovery criteria for the Cabinet-Yaak region have been met. FWS-

    LIT-014619.

    Response: Disputed. Although Plaintiffs accurately cite the 2011

    five-year review, that document was outdated at the time FWS issued


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    the 2017 Rule. As of 2016, the Cabinet-Yaak grizzly bear population

    is increasing at a rate of 1.6% annually and the human-caused

    mortality from 2011-2016 has been below the limit set forth in the

    recovery criteria (Kasworm et al. 2017). Based on this updated

    information, the criterion #3—human-caused mortality limit—has

    been met from 2011-2016. FWS continues to work to achieve the rest

    of the recovery criteria for this population. Regarding the 2011 five-

    year review cited, FWS clarifies that population increases at the time

    were not due simply to the continual augmentation of the population;

    rather the population “increase is largely due to the reproductive

    output of a successful augmentation bear, her offspring which also

    have reproduced, and the augmentation of 5 additional individuals

    between 2005 and 2009.” FWS_LIT_016092.

         44.   The grizzly bear population in the Selkirks remains small

    –– only approximately 88 grizzly bears inhabit the area. 82 Fed. Reg.

    30,509; FWS-LIT-016092. And this is only a best-guess based on 2011

    data. Id. Only approximately 30 of those grizzlies are located in the

    contiguous United States and covered by the 1975 listing rule. FWS-




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    LIT-016092. None of the Service’s 1993 demographic recovery criteria

    for the Selkirks have been met. FWS-LIT-014636.

    Response: Disputed. Although Plaintiffs accurately cite the 2011

    five-year review, that document was outdated at the time FWS issued

    the 2017 Rule. As of 2016, genotypes from rub tree samples identified

    a minimum of 30 grizzly bears in the U.S. portion of the Selkirk

    population (Kasworm et al. 2017b). Additionally, as of 2016, recovery

    criterion #2 had been met, meaning there was occupancy of 7 of 10

    bear management units by females with young over a six-year period

    (Kasworm et al. 2017b). Finally, as of 2011, FWS estimated that this

    population was increasing at a rate of 1.9% annually.

    FWS_LIT_016092. FWS continues to work to achieve the rest of the

    recovery criteria for this population.

         45.   There are approximately 900 grizzly bears in the Northern

    Continental Divide Ecosystem. 82 Fed. Reg. at 30,509. Grizzlies in

    the Northern Continental Divide Ecosystem remain isolated from

    other populations of grizzly bears in the lower-48. Id. Kendall (2009)

    has noted that “it is likely that continued unmitigated development

    along the Highway 2 corridor will result in genetic fragmentation of


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    the grizzly bear population in the [Northern Continental Divide

    Ecosystem].” FWS-LIT-006072.

    Response: Disputed. There are “more than 900 bears” in this

    ecosystem. 82 Fed. Reg. at 30509. Additionally, Plaintiffs cite

    Literature from 2009, which is outdated. The NCDE population is

    connected to the larger Canadian population. FWS_LIT_010610. And,

    although Kendall et al. (2009) suggested that the Highway 2 corridor

    may be causing habitat fragmentation, recent efforts have decreased

    mortality along this corridor. (MFWP, unpublished data). Research

    by Mikle et al. (2016) showed improved connectivity within the

    ecosystem from 2004 to 2012. There have also been two documented

    males that have moved from the Cabinet-Yaak Ecosystem to the

    NCDE and produced offspring (Kendall et al. 2016).

         46.   There are approximately 600-700 grizzly bears in the

    Yellowstone region. 82 Fed. Reg. at 30,509. Grizzlies in the

    Yellowstone region remain isolated from other grizzly bear

    populations in the lower-48. 82 Fed. Reg. 30,519; FWS-LIT-014694.

    Response: Disputed. There are “more than 700 bears” in this

    ecosystem. 82 Fed. Reg. at 30509.


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    The Service’s 2007 delisting attempt

         47.   The Service first attempted to delist the Yellowstone

    region grizzly bear population from the larger lower-48 listed entity

    in 2007. FWS-LIT-018659. At that time, the Service published a rule

    designating the Yellowstone region population as a distinct

    population segment (“population segment”) under the ESA and

    removing it from the list of threatened species. Id.

    Response: Undisputed.

         48.   However, conservationists challenged that decision before

    this Court, which issued a decision invalidating the delisting and

    returning the Yellowstone region grizzly bears to the list of

    threatened species on September 21, 2009. Greater Yellowstone

    Coalition v. Servheen, 672 F. Supp. 2d 1105, 1119–18 (D. Mont. 2009)

    (finding the Service failed to articulate “a rational connection

    between the best available science and its conclusion that bears will

    not be affected by declines in whitebark pine” and “did not comply

    with the ESA in its consideration of the adequacy of existing

    regulatory mechanisms for purposes of delisting”); see also FWS-Rel-

    Docs-001438.


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    Response: Undisputed as to the district court decision. However, on

    appeal, the Ninth Circuit reversed the district court on the issue of

    whether FWS reasonably concluded that “adequate regulatory

    mechanisms were in place to maintain a recovered Yellowstone

    grizzly population after delisting.” Greater Yellowstone Coal., Inc. v.

    Servheen, 665 F.3d 1015, 1030-32 (9th Cir. 2011).

         49.   In 2010, the Service published a rule reinstating

    protections for the Yellowstone region grizzly bear population in

    compliance with this Court’s order. “Because the Court vacated the

    entire delisting rule and remanded it to the Service, there is no longer

    a [Yellowstone region] grizzly bear [population segment].” 75 Fed.

    Reg. 14,496, at 14,497 (Mar. 26, 2010).

    Response: Undisputed as to the contend of the notice.

         50.   The Service appealed this Court’s judgment to the U.S.

    Court of Appeals for the Ninth Circuit, which affirmed this Court’s

    decision in November 2011, holding that the Service “did not

    articulate a rational connection between the data before it and its

    conclusion that whitebark pine declines were not likely to threaten

    the Yellowstone grizzly bear.” Greater Yellowstone Coalition v.


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    Servheen, 665 F.3d 1015, 1032 (9th Cir. 2011) (finding the ESA’s

    “policy of institutionalized caution” prohibited the Service from

    taking a “full-speed ahead, damn-the-torpedoes approach to delisting”

    the grizzly bear).

    Response: Undisputed as to that point. However, as noted in FWS’s

    response to paragraph 48, the Ninth Circuit reversed the district

    court on the issue of whether FWS reasonably concluded that

    “adequate regulatory mechanisms were in place to maintain a

    recovered Yellowstone grizzly population after delisting.” Greater

    Yellowstone Coal., 665 F.3d at 1030-32.

    The Service’s 2017 decision to designate and delist a
    Yellowstone grizzly segment
 

         51.   On June 30, 2017, the Service published a final rule

    designating the population of grizzly bears in the Yellowstone region

    a “distinct population segment” (“segment”) under the ESA and

    removing this segment (“Yellowstone grizzly segment”) from the list

    of threatened and endangered species protected under the ESA. 82

    Fed. Reg. 30,502. The Service determined that the Yellowstone

    grizzly segment was biologically “recovered” and no longer met the

    definition of a threatened species under the ESA. Id.
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    Response: Undisputed as to the content of the 2017 Rule.

         52.   The Service’s June 30, 2017, final delisting rule took effect

    on July 30, 2017. 82 Fed. Reg. 30,502. The prohibitions and

    conservation measures provided by the ESA, including through

    Sections 7 and 9 of the ESA, no longer apply to grizzly bears in the

    Yellowstone region. 82 Fed. Reg. 30,628. Grizzly bears that travel

    inside the boundary for the Yellowstone grizzly segment or remain

    inside the segment boundary are no longer protected under the ESA.

    82 Fed. Reg. 30,628.

    Response: Disputed in that the 2017 Rule took effect on July 31,

    2017, not on July 30, 2017.

         53.   The Service’s decision carves out and removes the

    Yellowstone grizzly segment from the 1975 lower-48 listing. 82 Fed.

    Reg. at 30,502. In designating and delisting a Yellowstone grizzly

    segment, the Service states that it “did not reopen the 1975 listing

    rule.” 83 Fed. Reg. at 18,737.

    Response: Disputed. The 2017 rule identified the Yellowstone

    ecosystem as a distinct population segment and determined that the

    segment had recovered.


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          54.   In designating and delisting a Yellowstone grizzly

    segment, the Service explored and debated various options for how

    best to remove (and whether it could remove) a population of grizzlies

    from the 1975 lower-48 listing. See FWS-LIT-01600; FWS- Del-Email-

    149907–09 (discussing options for revising the lower-48 grizzly

    listing, including the multiple segments option); FWS-Del- Email-

    146778 (same); FWS-Del-Doc-52621 (same); FWS-DEL- Email-

    146772–75 (same); FWS-Del-Doc-11380–81 (same); FWS- Del-Doc-

    19631 (map depicting options); FWS-Del-Doc-19632 (same).

    Response: Partially disputed. FWS_LIT_01600 does not support

    Plaintiffs’ assertions.

          55.   In a summary of facts outlined in a draft memo by the

    Director, the Service noted a “strict application” of its distinct

    population segment policy “could lead to the determination that the

    existence and recovery of smaller grizzly bear populations in the

    Cabinet-Yaak, Selkirk, North Cascades, and Bitterroot ecosystems

    were “not significant” to the taxon (Ursus arctos horribilis in North

    America), with a subsequent determination that these populations

    should be delisted because they do not meet the definition of a


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    “listable entity”.” FWS-Del-Doc-52870. The Service noted that if “a

    strict application of the 1996 [population segment] Policy resulted in

    the delisting of these smaller grizzly bear ecosystems, this would

    directly contradict the wording and intent of the ESA and the Grizzly

    Bear Recovery Plan.” FWS-Del-Doc-52872.

    Response: Partially disputed. FWS adds that the memo responded

    to this concern “by committing FWS to continue grizzly bear recovery

    efforts in all identified recovery zones and clearly stating we will not

    delist any grizzly bear population in the lower 48 States for any

    reason other than recovery or extinction.” FWS_Del_Doc_52870.

         56.   The Service admits that its decision to designate and

    delist a Yellowstone grizzly segment “may affect” grizzlies in the

    lower-48. 83 Fed. Reg. at 18,739. The Service admits that its decision

    to designate and delist a Yellowstone grizzly segment “could impede

    recovery of other still-listed populations.” Id. The Service recognizes

    that grizzlies outside the demographic monitoring area –– where

    mortality limits do not apply –– will be subject to higher mortality

    levels, which could limit dispersal of grizzly bears outside of the

    Yellowstone region. Id. at 18,740. During the comment period on the


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    Service’s decision to designate and delist a Yellowstone grizzly

    segment, concerns were also raised about how delisting a Yellowstone

    segment “may preclude population expansion and connectivity with

    other ecosystems.” 82 Fed. Reg. at 30,556.

    Response: Disputed. FWS does not state that the delisting of the

    distinct population segment “may affect” the status of the remaining

    populations as Plaintiffs imply. Instead, FWS noted from the 2017

    rule that the bears outside the Yellowstone ecosystem “remain fully

    protected as a threatened species under the Act, that [FWS’s]

    recovery strategy will continue to focus on ecosystem-wide recovery

    zones, and that the [distinct population segment] delisting does not

    affect the status or likely recovery of other grizzly bear zone

    populations….” 83 Fed. Reg. at 18739. FWS went on to say that “[i]t

    is possible that delisting a [distinct population segment] of an

    already-listed species could have negative effects on the status of the

    remaining species. For example, removing the Act’s protections from

    one population could impede recovery of other still-listed

    populations.” Id. In the case of the grizzly bear, FWS discussed

    potential implications for the remaining populations. Id. FWS did


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    comment on the issue of natural connectivity between recovery zones,

    which is a long-term objective but not a recovery criterion for any of

    the recovery zones. Id. FWS noted that connectivity has the greatest

    potential between the Yellowstone and NCDE populations. Id. at

    18740. However, to date, there’s no evidence of dispersal between the

    two populations and, in any event, neither population is at risk of

    genetic isolation. Id. Thus, delisting the Yellowstone population is

    unlikely to affect the status of the NCDE population. Id. As to the

    Plaintiffs’ final sentence, the text they quote actually refers to the

    “concern that managing for stability may preclude population

    expansion and connectivity with other ecosystems,” meaning that

    there were concerns about focusing on the average population

    estimate during 2002 to 2014, otherwise known as the “period of

    stability.” 82 Fed. Reg. at 30556. One peer reviewer recommended

    instead to periodically reevaluate population goals. Id.

    Threats facing grizzly bears in the Yellowstone region


         57.   Grizzlies “are a conservation reliant species.” FWS-LIT-

    005970; FWS-Del-Em-00087791. “A conservation reliant species is

    defined as: ‘Species that can maintain a self-sustaining population in

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    the wild only if ongoing management actions with proven

    effectiveness are implemented.” FWS-Del-Em-00087791.

    Response: Undisputed.

    Low reproductive rates


         58.   Grizzly bears “have one of the slowest reproductive rates

    for terrestrial mammals, resulting primarily from the late age of first

    reproduction, small average litter size, and the long interval between

    Litters.” FWS-LIT-14545. It takes six years –– on average –– for

    female grizzlies to first give birth (average litter size is approximately

    two cubs) with almost three years in between Litters thereafter. 81

    Fed. Reg. at 13,177. It “may take a female grizzly bear 10 or more

    years to replace herself in a population.” Id. The grizzly’s limited

    reproductive capacity also “precludes any rapid increase in the

    population.” FWS-LIT-14545.

    Response: Partially disputed. The first quote has minor mistakes.

    Based on the page cited, it should read: Grizzly bears “have one of the

    lowest reproductive rates among terrestrial mammals….”

    Additionally, the “[a]verage age of first reproduction in the [Greater

    Yellowstone Ecosystem] is approximately 6 years old but can vary

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    from 3 to 8 years of age…Litter size in the [Greater Yellowstone

    Ecosystem] ranges from 1 to 4 cubs…with a mean litter size of 2.04

    cubs during 1983-2001 and 2.12 cubs during 2002-2011.” 81 Fed. Reg.

    at 13177 (citations omitted). The average time between litters in the

    Yellowstone ecosystem is 2.78 years. Id.

    Isolated, small, and declining population

         59.   There are approximately 600-700 grizzly bears in the

    Yellowstone region. 82 Fed. Reg. 30,509. Grizzly bears in the

    Yellowstone region remain isolated from all other grizzly bear

    populations in the contiguous United States and grizzly bear

    populations in Canada. 82 Fed. Reg. 30,519; FWS-Emails-033881–

    82; FWS-Emails-00916 (“It is an overreach to state that the genetic

    health is ‘very strong;’ [the Yellowstone grizzly segment] remains an

    isolated population with lower genetic diversity than many other

    grizzly bear populations.”).

    Response: Disputed. There are “more than 700 bears” in this

    ecosystem. 82 Fed. Reg. at 30509. Moreover, although genetic

    diversity is lower than in many other grizzly bear populations, the

    important “point is that population isolation has not resulted in loss


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    of genetic diversity and that there is no evidence this would change

    unless overall population size decreased from current levels.”

    FWS_Emails_000916; 82 Fed. Reg. at 30610.

         60.   Grizzly bear population growth is currently in decline in

    the Yellowstone region. 82 Fed. Reg. 30,507 (acknowledging the

    slowing population growth of Yellowstone grizzlies since the 2000s);

    82 Fed. Reg. 30,512–13; FWS-LIT-016502 (noting population growth

    has slowed from 4.2-7.6% during 1983-2001 to just 0.3-2.2% during

    2002-2011); FWS-LIT-003225.

    Response: Disputed. Population growth stabilized in the early 2000s

    but has remained constant since that time. 82 Fed. Reg. at 30512,

    30565; FWS_LIT_01468. The Interagency Study Team and others

    investigated the stabilizing growth rate trends during the 2000s,

    which led to numerous studies and data that “indicate that the

    growth rate of the … [Demographic Monitoring Area] population has

    slowed as bear densities have approached carrying capacity,

    particularly in the core area of their current range.” 82 Fed. Reg. at

    30513. In fact, by 2017, the population continued to grow in size and




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    occupy 16,286 mi2 of habitat, or 92% of the suitable grizzly bear

    habitat in the Ecosystem. 82 Fed. Reg. at 30511.

         61.   Grizzly bears have been in decline in the Yellowstone

    region since at least 2014. FWS-Emails-058290. The grizzly

    population dropped from approximately 757 to 717 in 2015, and

    dropped again in 2016 to only 690 bears. Id. “Almost all simulations –

    93% – show population decline. Conversely, only 7% show increase.

    The overwhelming weight-of-evidence supports concluding that the

    population declined between 2014 and 2016.” FWS-Emails-000004.

    Response: Disputed. The Yellowstone population is not in decline.

    Plaintiffs cite a public comment, the content of which is not based on

    published research or based on what FWS would consider the best

    available science. As stated in the 2017 Rule, the “best available data

    indicate the [Greater Yellowstone Ecosystem] grizzly bear

    population’s trend has been relatively constant with no evidence to

    date of a decline, and range extent has continued to expand. We

    consider estimates of population trend (i.e., lambda) to be the

    ultimate metric to assess cumulative impacts to the population.” 82

    Fed. Reg. at 30544-45. In addition, the IGBST uses four different


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    methods to detect trend and size, none of which detect a population

    decline. 82 Fed. Reg. at 30565. The 2017 Rule also states that, “for a

    long-lived vertebrate, such as grizzly bears, inference of trend based

    on model-average Chao2 estimates from one year to the next is

    inappropriate. Trends should be investigated over long time periods;

    based on unpublished IGBST analyses of 2000 to 2015 data, analyses

    do not indicate a population decline.” 82 Fed. Reg. at 30565. Lastly,

    the population estimate from 2017 was 718 individuals, an increase

    from both 2015 and 2016 (IGBST 2018).

         62.   The Service excluded the most recent population numbers

    in the June 30, 2017 final rule because the numbers were unhelpful:

    “Adding 2015’s numbers would not necessary [sic] help our case.”

    FWS-Emails-018429; FWS-Emails-018441 (recognizing that adding

    2015 numbers would require updating population data throughout all

    documents).

    Response: Disputed. The emails cited state that 2014 data were

    included, but to edit the draft to include 2015 data “might get sticky

    because it would mean adding 2015 data throughout the Strategy and

    the Rule,” which would be “time consuming,” and FWS was on a


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    “tight timeline” to make changes. FWS_Emails_018429. The 2017

    Rule similarly acknowledges that FWS did not update the draft to

    include 2015 data because “(1) We would not have been able to

    update all of the data given the amount of time available to do so

    between the proposed rule and this final rule, and (2) intensive

    monitoring has been ongoing since prior to 2014 …; therefore,

    including data since 2014 would not have changed our assessment. In

    response to specific public comments, we did respond using the most

    recent available data…We did, however include all relevant peer-

    reviewed publications since 2014 and up to this final rule.” 82 Fed. at

    Reg. 30546.

         63.   The Service has used four different methods to divine

    population trends and derive population estimates for grizzly bears in

    the Yellowstone region. FWS-Emails-000007. FWS originally

    estimated minimum population size based on the number of observed

    females with cubs-of-the-year and without any adjustments for

    females that may go undetected. Id. The Service then shifted to using

    the Chao2 method to account for undetected females with cubs-of-the-

    year and assuming a 0.64:1 sex ratio. Id. In 2012, the Service


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    retained using the Chao2 method but assumed a 1:1 sex ratio, which

    had the effect of increasing the population size even further. Id. State

    managers and Service officials recently have asserted there may be

    over a thousand bears in the Yellowstone region, which is a number

    derived from the Mark-Resight method assuming a 1:1 sex ratio. Id.

    In comments, Dr. David Mattson explained that use of these four

    methods are incommensurable with one another and cannot logically

    be used to divine population trends. FWS-Emails-000008. According

    to Dr. Mattson, the four methods are “apples and oranges, plus some

    pears.” Id.

    Response: Disputed. Plaintiffs cite a public comment, the content of

    which is not based on published research or based on what FWS

    would consider the best available science. As FWS explained in the

    response to comments in the 2017 Rule, the IGBST does not compare

    the four different methods to each other to assess population trends

    as implied by Plaintiffs. 82 Fed. Reg. at 30562-63. They use four

    different methods to estimate trends and population size and each

    method independently shows a stable-to-increasing population. Id.




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              The original recovery criteria in the 1993 recovery plan

    were based on a minimum population estimate based on unique

    females with cubs. In addition, the mortality limits only applied to

    human-caused mortality because methods were not available to

    estimate total mortality. When the demographic recovery criteria

    were updated in 2007, based on the best available science, the

    population estimate method was updated to account for unseen

    females to give a total population estimate rather than a minimum

    population estimate. In addition, the mortality rate was updated to

    include all forms of mortality, including an estimate for

    unknown/unreported mortality. The model-averaged Chao2

    population estimate is derived from sightings of unique females with

    cubs (see figure 2.1 in FWS_LIT_033128 for an overview). It then

    uses vital rates from the population, including the sex ratio, to

    calculate the population estimate. The study team reviewed the vital

    rates in 2011 and determined that male survival had increased,

    shifting the sex ratio to 1:1 (FWS_LIT_033142). Mark-Resight is a

    separate population estimator from Chao2 and the numbers are not

    compared by IGBST or in the 2017 Rule to imply trend. Mark-Resight


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    does yield higher population estimates but yields low precision when

    utilized for trend detection. 82 Fed. Reg. at 30563.

               Finally, the source cited by Plaintiffs states that

    “[s]cientists have long known that the Chao2 method tends to under-

    estimate total numbers of females with [cubs-of-the-year] in the

    population.” FWS_Emails_000007. “Differences [in the methods] are

    merely a consequence of whether undetected females with [cubs-of-

    the-year] are accounted for and, if so, by what means.” Id.

         64.   Traill (2009), FWS-LIT-30547, Traill (2007), FWS-LIT-

    030554, Reed (2003), FWS-LIT-028618, and Frankham (2013), FWS-

    LIT-003588 are in agreement that an isolated population of

    thousands (not hundreds) of grizzly bears is required to ensure the

    species’ long-term viability.

    Response: Disputed. Traill (2007) notes that “a species’ or

    population’s MVP is context-specific, and there are no simple short-

    cuts to its derivation.” FWS_LIT_030554. In the 2017 Rule, FWS

    addressed the viability of grizzly bears. 82 Fed. Reg. at 30610. As

    reported by Kamath et al. (2015, FWS_LIT_005969), the current

    effective population size for the Yellowstone population is


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    approaching, but has not reached, the long-term viable population

    criterion of 500 bears. But currently lack of effective population size

    does not pose a risk to the Yellowstone population’s viability.

    Additionally, although connectivity is not necessary, it is desirable

    and the 2016 Conservation Strategy addresses encouraging natural

    connectivity between the Yellowstone and other ecosystems.

    FWS_LIT_017036, 017066-68.

         65.   Small and isolated populations remain vulnerable to: (1)

    demographic fluctuation due to random variation in birth and death

    rates and sex ratio; (2) environmental fluctuation in resource or

    habitat availability, predation, competitive interactions and

    catastrophes; (3) reduction in cooperative interactions and

    subsequent decline in fertility and survival; (4) inbreeding depression

    reducing reproductive fitness; and (5) loss of genetic diversity

    reducing the ability to evolve and cope with environmental change.

    FWS-LIT-030548.

    Response: Partially disputed. These statements are true as a

    general matter, but lack context. As the 2017 Rule explains, this

    issue is not a problem for the Yellowstone population which, based on


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    the best available science, has a current effective population size of

    469, which is adequate to maintain genetic health in this population.

    82 Fed. Reg. at 30535-36.

         66.   Traill (2007) states that “if conservation practitioners

    purportedly manage for population viability with a few hundred

    individuals or less, then they effectively manage at a 50:50 odds of

    success on a century time scale.” FWS-LIT-030550. Traill (2007)

    concludes that “thousands (not hundreds) of individuals are required

    for a population to have an acceptable probability of riding-out

    environmental fluctuation and catastrophic events, and ensuring the

    continuation of evolutionary processes.” FWS-LIT- 030547.

    Response: Undisputed that the document cited makes these

    assertions. However, Traill et al. (2007) estimates minimum viable

    population size based on 287 published viable population estimates.

    Of these, only 95 were mammals and 9 were grizzly bears. The grizzly

    bear specific minimum viable population size ranged from 40-6,221

    individuals, but the majority (5) were only 250 individuals. Traill

    2007 supplemental material. In addition, the intent of the review is to

    “derive a target MVP for data-deficient species.” FWS_LIT_030560.


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    The Greater Yellowstone Ecosystem is not a data-deficient species

    and recent research by Kamath et al. (2016) shows that the current

    effective population size of 469 is adequate to maintain genetic

    health. 82 Fed. Reg. at 30535-36.

         67.   Frankham (2013) states “the [minimum viable population]

    size for 99% persistence for 40 generations for a typical outbreeding

    species is in the order of several thousand” animals. FWS-LIT-

    003593.

    Response: Partially disputed. Frankham (2013) asserts that data in

    Traill (2007) supports Plaintiffs’ assertion here. However, the 2017

    Rule found that, “[a]lthough the current Ne of 469 (Kamath et al.

    2015, p. 5512) is approaching, but has not reached, the long-term

    viable population criterion of an Ne 500 bears (Franklin 1980), we are

    confident that the, as yet, lack of Ne does not currently pose a risk to

    the [Greater Yellowstone Ecosystem] grizzly bear population’s

    viability.” 82 Fed. Reg. at 30610.

         68.   Reed (2003) states that “approximately 5,800 adult

    animals are needed for a 95% chance of persistence over 40




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    generations, 4,700 for 90% persistence, and 550 for a 50% chance of

    persistence.” FWS-LIT-028622.

    Response: Partially disputed. The assertions from Reed (2003) are

    not specific to grizzly bears. The data on grizzly bears considered

    showed minimum viable adult population sizes of 469 and 600. Miller

    and Waits said that a minimum population size of at least 500

    animals within the Demographic Monitoring Area will ensure short-

    term genetic health, as is set forth in recovery criterion #1 of the

    revised demographic recovery criteria for the Greater Yellowstone

    Ecosystem and the 2017 Rule. 82 Fed. Reg. at 30514;

    FWS_LIT_009423; FWS_LIT_016423-24. Moreover, as FWS stated in

    the response to comments in the 2017 Rule, “based on peer-reviewed

    literature that specifically addresses genetics of the [Greater

    Yellowstone Ecosystem] grizzly bears, as well as other relevant

    genetic literature, Kamath et al. (2015, entire), combined with Miller

    and Waits (2003, entire), suggests that although the [Greater

    Yellowstone Ecosystem] grizzly bear population is isolated, there is

    no evidence of a ‘shrinking gene pool.’ Although the current effective

    population size for the [Greater Yellowstone Ecosystem] grizzly bear


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    is lower than what is recommended by published literature on

    evolutionary theory (e.g., Franklin 1980, p. 136) for evolutionary

    success in the absence of management, it is important to note that

    the recommendation is based on non-managed populations. We

    remain confident that genetic management for the Greater

    Yellowstone Ecosystem grizzly bear population will effectively

    address future genetic concerns (Hedrick 1995, p. 1004; Miller and

    Waits, p. 4338). 82 Fed. Reg. at 30610.

         69.   The International Union for Conservation of Nature

    (“IUCN’s”) criteria for “vulnerable” populations classifies populations

    below a thousand individuals as vulnerable, meaning it is threatened

    with becoming an endangered species. FWS-Pub- Cmt-03915; 82 Fed.

    Reg. at 30,558 (recognizing that the Yellowstone grizzly segment

    meets the IUCN’s criteria for a “vulnerable” population).

    Response: Partially disputed. As the 2017 Rule explains, “the

    [Greater Yellowstone Ecosystem] grizzly bear population meets one of

    the IUCN criteria for vulnerable (population size estimated at less

    than 1,000 mature individuals), [FWS’s] recovery and post-delisting

    management goals were designed to provide for the long-term


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    conservation of the [Greater Yellowstone Ecosystem] grizzly bear

    population by ensuring sufficient control of human-caused mortality

    and maintenance of suitable habitat.” 82 Fed. Reg. at 30558.

         70.   The International Association for Bear Research and

    Management, stated that 700 bears in an isolated region is not a

    large population and that setting a goal of maintaining a population

    at a certain numerical size (674 individuals) is not only impractical,

    but seems counter to other stated conservation strategies of allowing

    the population to fill all suitable habitat, and even expand to connect

    to the [Northern Continental Divide Ecosystem] and possibly the

    Bitterroots, the latter of which is a significant and important

    component of protecting grizzly bears as a species.” FWS-Pub-Cmt-

    03915, 03920.

    Response: Partially disputed. FWS adds from its response to these

    comments in the 2017 Rule: “[W]e agree that it is not practical or

    even possible to manage for an exact population target as populations

    naturally and inevitably fluctuate through time. The States’

    agreement to manage within the confidence intervals around 674

    bears provides reasonable management flexibility in recognition of


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    the complexities of the system and of managing grizzly bears.” 82

    Fed. Reg. at 30556. In addition, although connectivity is not

    necessary for the recovery or delisting of the Greater Yellowstone

    Ecosystem population, the 2016 Conservation Strategy and

    Montana’s State management plan include a long-term goal of

    allowing grizzly bear populations in southwestern and western

    Montana to reconnect through the maintenance of non-conflict grizzly

    bears in areas between the ecosystems. 82 Fed. Reg. at 30581. The

    State of Montana will manage discretionary mortality to retain the

    opportunity for natural movement between ecosystems.

         71.   The American Society of Mammalogists and the Society

    for Conservation Biology, explain that the current total population of

    grizzly bears in the entire lower-48 (the “metapopulation”) of no more

    than 1,800 animals is at least five to eleven times too few individuals

    to assure long-term persistence. FWS-Pub-Cmt-004191–93. The

    American Society of Mammalogists and the Society for Conservation

    Biology, and sixty-four scientific experts are in agreement that an

    isolated population of 600-700 grizzlies in the Yellowstone region is

    not a “recovered” population. Id.; FWS-Pub-Cmt-006108.


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    Response: Undisputed that the public comments cited make the

    stated assertions. However, as FWS explained in response to

    paragraphs 66 and 68 above, these assertions are not supported by

    species-specific publications or what FWS considers the best available

    science.

         72.   Comments provided to the Service during the peer review

    process also raise concerns about the Service’s “recovery” finding. See

    FWS-Rel-Docs-005200–02; FWS-Rel-Docs-005203–04; FWS-Rel-Docs-

    005211. During the peer review process, reviewers raised concerns

    with the Service’s numerical limits and conclusion that the

    Yellowstone grizzly segment has reached a “recovered” population

    size. FWS-Rel-Docs-005200–02; FWS-Rel-Docs-00521. Peer reviewers

    stated that there is “no scientific basis for the [proposed rule’s] lower

    limit of 500 bears” and that “to manage populations at pre-

    determined numeric values (or ranges of values) can be inherently

    problematic.” Id.

    Response: Partially disputed. Although the peer review cited at

    FWS_Rel_Docs_005200 raises concerns about the use of the lower

    limit of 500 bears, the peer review also provides that, if implemented,


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    the Conservation Strategy is adequate to reasonably ensure the long-

    term viability of the Greater Yellowstone Ecosystem population.

    Specifically, the peer review notes that “[t]here is no basis for concern

    about the long-term viability of the population except for the fact that

    we cannot anticipate the future.” FWS_Rel_Docs_005201. The second

    peer review cited at FWS_Rel_Docs_005211 (521 appears to be a

    mistake) does make the quoted assertion. However, the peer review

    goes on to say that “having periodic reassessments of population goals

    in the context of dynamic processes could mitigate this concern.”

    FWS_Rel_Docs_005211. That peer review also says, “[o]verall I

    believe [the Conservation Strategy] is adequate to facilitate the long-

    term viability of this grizzly bear population.” Id.

         73.   The Service stated that “the effective population size and

    heterozygosity levels of the [isolated Yellowstone grizzly segment] are

    only adequate for the next several decades [approximately 20 years].”

    83 Fed. Reg. at 18,741.

    Response: Disputed. FWS stated: “[W]hile successful dispersal is

    possible, the likelihood is low due to large areas of unsuitable habitat

    between populations. Currently, the effective population size and


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    heterozygosity levels in the [Greater Yellowstone Ecosystem] are

    adequate to maintain genetic health of the [Greater Yellowstone

    Ecosystem] population for at least the next several decades.” 83 Fed.

    Reg. at 18741 (citations omitted).

         74.   For grizzly bears and other mammals, the best available

    science works with a timeframe of 99% probability of surviving 40

    generations, which equates to roughly 400 years for grizzly bears (10

    years per generation). See FWS-LIT-028618 (Reed (2003) describing

    appropriate duration for assessing minimum population viability);

    FWS-LIT-003593 (Frankham (2013) recommending the “standardized

    99% probability of persistence for 40 generations” be used); FWS-LIT-

    30559 (Traill (2007) (same)); see also FWS-LIT-028625 (Table 3,

    providing time frames).

    Response: Disputed. As FWS explained in response to paragraphs

    66 and 68 above, these assertions are not supported by species-

    specific publications or what FWS considers the best available

    science, which includes the population viability analysis by Boyce et

    al. (2001) and the effective population size by Kamath et al. (2016).




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         75.   Miller and Waits (2003) concluded that an effective (not

    total or census) population size of at least 500 to 5,000 individuals is

    generally required to maintain long-term evolutionary potential and

    noted that the Yellowstone grizzly segment “is unlikely” to ever reach

    that number. FWS-LIT-009423. Miller and Waits (2003) noted that

    concerns about the “genetic consequences of inbreeding and isolation

    are likely to transpire for longer periods (decades and centuries)”

    which is within the recommended timeframe for evaluating extinction

    risk. Id. Miller and Waits (2003) raised concerns about threats to the

    Yellowstone grizzly segment from lack of connectivity, loss of habitat,

    and high levels of human-caused mortality. FWS-LIT-009423.

    Response: Partially disputed. Miller and Waits (2003) say that “[i]t

    has been argued” that the population size should be at least “500-

    5000 to maintain long-term evolutionary potential in the form of

    additive genetic variance.” FWS_LIT_009423. The study states that

    “it is unlikely that genetic factors will have a substantial effect on the

    viability of the Yellowstone grizzly over the next several decades.” Id.

         76.   Klamath (2015) found that while the current effective

    population of grizzlies in the Yellowstone region may be large enough


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    to avoid “inbreeding depression” currently, grizzlies are a

    “conservation-reliance species,” FWS-LIT-005970, and the

    “historically small [effective population size], relatively low diversity,

    and isolation over many generations suggest the grizzly population

    could benefit from increased fitness following the restoration of gene

    flow . . . particularly given the unpredictability of future climate and

    habitat changes.” FWS-LIT-005979.

    Response: Partially disputed. To the extent that Plaintiffs imply

    that the Yellowstone population is a “conservation-reliant” species,

    Kamath (2015) is referring to grizzly bears in the lower 48 States, not

    specifically the Yellowstone population. FWS_LIT_005970. Moreover,

    Kamath (2015) states that the study suggests that current effective

    population sizes are “sufficiently large” “to avoid substantial

    accumulation of inbreeding depression, reducing concerns regarding

    genetic factors affecting the viability of Yellowstone grizzly bears.”

    FWS_LIT_005979.

         77.   The Service has emphasized that “recovery” for the

    Yellowstone grizzly segment is contingent upon establishing

    connectivity between grizzlies in the Yellowstone region and other


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    subpopulations. FWS-Del-Em-00119567 (recovery requires linkage

    between recovery zones); FWS-Del-Em-00127058 (facilitating

    connectivity between the Yellowstone grizzlies and other ecosystems

    is a “significant issue” and “important recovery objective”); FWS-Del-

    Em-00127058.

    Response: Partially disputed. Although connectivity between the

    Yellowstone population and other populations is desirable, it is not

    necessary for a population to be recovered. Nevertheless, the 2016

    Conservation Strategy commits to encouraging natural connectivity

    between the Greater Yellowstone Ecosystem and other ecosystems.

    See FWS_LIT_017036-37; 017066-68. Moreover, the first email cited

    by Plaintiffs is referring to all of the grizzly ecosystems and provides

    that “[r]ecovery also requires facilitating eventual linkage between

    the existing recovery zones and with adjacent grizzly populations in

    Canada….” FWS_DEL_EM_00119567.

         78.   Klamath (2015) and Miller and Waits (2003) found that

    the isolated grizzly population in the Yellowstone region would

    benefit from restoration of gene flow. FWS-LIT-005979; FWS-LIT-

    009423. The lack of connectivity between grizzly populations was


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    identified as a threat in the 1975 listing rule, 40 Fed. Reg. at 31,734

    (FWS-LIT-018564), and was an original recovery objective. FWS-LIT-

    014362; FWS-Del-Em-00127058; FWS-LIT-014565–66.

    Response: Undisputed, but FWS provides clarification regarding

    Plaintiffs’ first sentence. Kamath (2015) states in full: “Our results

    suggest that the Yellowstone grizzly bear population has increased

    substantially over the past three decades, supporting demographic

    evidence that conservation measures implemented under the ESA

    have thus far aided the recovery of this population. Specifically, our

    findings suggest that genetic diversity has shown no decline in recent

    decades, and contemporary [effective population size] substantially

    exceeds the inbreeding avoidance goal…[O]ur study suggests that

    current effective population sizes are sufficiently large…to avoid

    substantial accumulation of inbreeding depressing, reducing concerns

    regarding genetic factors affecting the viability of Yellowstone grizzly

    bears. Nonetheless, the historically small [effective population size],

    relatively low diversity and isolation over many generations suggest

    the grizzly population could benefit from increased fitness following

    the restoration of gene flow….” FWS_LIT_005979. Moreover,


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    although connectivity between the Yellowstone population and other

    populations is desirable, it is not necessary for a population to be

    recovered. Finally, Miller and Waits (2003) is based on outdated

    information.

         79.   Chris Servheen, the Service’s former grizzly bear recovery

    coordinator, stated that “all Literature dealing with isolated

    populations of any animal and all papers dealing specifically with

    Yellowstone genetics state that linkage is important.” FWS-Del-Em-

    00119586. Servheen (2001) states that “[I]f carnivores such as grizzly

    bears . . . are to survive and recover to healthy population levels in

    the Rocky Mountains, the issue of fragmentation must be addressed

    in a proactive and effective manner.” FWS-LIT-029438.

    Response: Undisputed that FWS employee cited made the quoted

    statements. However, these statements reflect the preliminary views

    of one Service employee. FWS’s consideration of the best available

    science is reflected in the 2017 Rule. Moreover, the 2016

    Conservation Strategy and the 2017 Rule address the issue of

    supporting natural connectivity in the future. Finally, the 2001 study

    cited in the second sentence is outdated.


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         80.   Proctor (2012) states that “[w]ithout female connectivity,

    small populations are not viable over the long-term.” FWS-LIT-01061.

    Response: Partially disputed. The correct citation is to

    FWS_LIT_010611. Moreover, the cited statement is taken out of

    context. The “small populations” does not refer to the Yellowstone

    population, but rather the Purcell, Yaak, Cabinet, and Selkirk

    Mountains populations. FWS_LIT_010634-35, 010640.

         81.   To manage for connectivity, the Service originally insisted

    the states commit to no-hunting zones between the Yellowstone

    region and other subpopulations, including the Northern Continental

    Divide Ecosystem (portions of the Highlands, Tobacco Roots, and

    areas east of Deerlodge (Nevada and Boulder Mountains)) as a

    condition for delisting. FWS-Del- Em-00151751; FWS-Del-Em-

    0014420; FWS-Del-Em-00153335; FWS-Del-Em-00144562; FWS-

    Emails-059386; FWS-Emails- 059449. The Service considered

    providing for connectivity to be a significant and “MAJOR issue,”

    FWS-Del-Em-00144562, and critical to FWS’s “recovery” finding.

    FWS-Emails-059449.




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    Response: Partially disputed. Again, many of these statements

    reflect the views of one Service employee. FWS’s consideration of the

    best available science is reflected in the 2017 Rule. At bottom, FWS

    did not “insist” on states committing to no-hunting zones. Rather,

    FWS explored that possibility. For example, Plaintiffs cite an email

    that states that FWS “is in discussions with the states of Montana

    and Idaho about not allowing grizzly hunting in important connector

    areas between the Yellowstone and populations to the north.”

    FWS_Del_EM_00153335. Another email describes no-hunting zones

    as “[o]ne way to achieve [the objective of male movement between the

    NCDE and Yellowstone].” FWS_Emails_059449. Moreover, the

    grizzly bear management plan for southwestern Montana says it will

    manage discretionary mortality in areas between the [Greater

    Yellowstone Ecosystem] and the NCDE to provide the opportunity for

    natural connectivity. 82 Fed. Reg. at 30534; FWS_LIT_033317.

    Montana’s grizzly bear hunting regulations also have a closed hunt

    unit in the northwest corner to allow for connectivity.

    FWS_LIT_009400-01.




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         82.   However, the states refused and connectivity has yet to be

    restored. FWS-Del-Em-00144669. The states said any declaration of

    “no hunting zones” as part of delisting is “unacceptable” to Idaho,

    Montana, and Wyoming. Id.; FWS-Del- Em-00122644 (Montana’s

    refusal to close hunting in important linkage area); FWS-Emails-

    016328 (Wyoming noting that addressing connectivity issues could

    result in “political consequences”); FWS-Emails-00917 (describing

    states’ refusal to properly manage for connectivity assurances).

    Response: Partially disputed. The States were opposed to “no

    hunting zones”; however, Montana stated that as they “move into

    management of recovered grizzly bears in the GYA and NCDE, [it]

    may address [the issue of connectivity] through ongoing management

    planning.” FWS_DEL_EM_00144669. “Connectivity between the

    [Greater Yellowstone Ecosystem] and the NCDE is a long-term goal

    for the State of Montana, as set out in their Grizzly Bear

    Management Plan for Southwestern Montana.” FWS_Emails_000917.

    Moreover, as noted in response to paragraph 81, Montana’s grizzly

    bear hunting regulations also have a closed hunt unit in the

    northwest corner to allow for connectivity. FWS_LIT_009400-01.


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         83.   The Service concedes that much needed linkage or

    connectivity of grizzly subpopulations has yet to be established. 82

    Fed. Reg. at 30,517; 82 Fed. Reg. at 30,579.

    Response: Disputed that FWS “concedes” that linkage or

    connectivity is “much needed.” Plaintiffs first cite part of the distinct

    population segment analysis of the Greater Yellowstone Ecosystem.

    FWS addresses connectivity on that page to a limited degree, stating

    that no grizzly bears from the Greater Yellowstone Ecosystem have

    been suspected or confirmed beyond the borders of the Greater

    Yellowstone Ecosystem and no grizzly bears originating from another

    ecosystem have been detected inside the Greater Yellowstone

    Ecosystem. 82 Fed. Reg. at 30517. On the second page cited, FWS

    states that the agency is “encouraged by the expansion of grizzly

    bears into the area between NCDE and the [Greater Yellowstone

    Ecosystem],” though connectivity between the two ecosystems has not

    yet been documented. 82 Fed. Reg. at 30579.

    Loss of important food sources

         84.   Grizzly bears in the Yellowstone region have a unique diet

    that differs from other populations in the contiguous United States.


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    FWS-LIT-016075; 81 Fed. Reg. at 13,178. The grizzly bear’s diet in

    the Yellowstone region is “unusual and unique” because the bears

    have greater access to large bodied ungulates (e.g., bison, deer, elk,

    and moose) and less access to fall berries than other populations.

    FWS-LIT-016075.

    Response: Partially disputed in that grizzly bears in the Greater

    Yellowstone Ecosystem “commonly consume ungulates (bison (Bison

    bison), elk (Cervus Canadensis), moose (Alces alces), and deer

    (Odocoileus species)), cutthroat trout (Oncorhynchus clarki), roots

    and tubers, army cutworm moths (Euxoa auxiliaris), grasses, and

    whitebark pine seeds (Pinus albicaulis).” 81 Fed. Reg. at 13178.

         85.   Grizzly bears in the Yellowstone region are the only bears

    in the contiguous United States that prey on bison and rely on

    whitebark pine seeds. FWS-LIT-016075.

    Response: Partially disputed. Grizzly bears do not “rely on”

    whitebark pine seeds. The 2011 five-year review says that “grizzlies

    in the [Greater Yellowstone Ecosystem] rely on terrestrial mammals

    as their primary sources of nutrition….” FWS_LIT_016075. The five-

    year review also noted that the Greater Yellowstone Ecosystem


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    grizzly bears were in a unique ecological setting because they use

    whitebark pine as a major food source. FWS_LIT_016075. However,

    the 2017 Rule explains that the use of whitebark pine has declined,

    but this decline has not affected the viability of the Greater

    Yellowstone Ecosystem population. 82 Fed. Reg. at 30518, 30537-38.

         86.   The four most important food sources for grizzly bears in

    the Yellowstone region are: meat from ungulates (bison, elk, deer,

    and moose), whitebark pine seeds, army cutworm moths, and

    cutthroat trout. 81 Fed. Reg. 13,178; FWS-LIT-019231; FWS- LIT-

    016075; FWS-LIT-016303.

    Response: Undisputed that grizzly bears in the Greater Yellowstone

    Ecosystem eat these food sources, but dispute that they are the “four

    most important food sources” for grizzly bears. Although this

    population eats over 266 distinct plant and animal species,

    monitoring efforts have focused on the four food sources cited by

    Plaintiffs because they have relatively high energetic value and the

    consumption of these sources by bears is relatively easy to measure.

    82 Fed. Reg. at 30536. Plaintiffs cite the 2016 draft rule, which

    states that “[n]early one third of grizzly bear home ranges in the

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    [Greater Yellowstone Ecosystem] do not contain any whitebark

    pine…Bears in these areas consume other foods even during years of

    good whitebark pine production.” 81 Fed. Reg. at 13178 (citations

    omitted). In addition, whitebark pine is a masting species, producing

    large seed crops in some years and poor seed crops in other years.

    The Greater Yellowstone Ecosystem grizzly bear population has

    always had to rely on alternative food sources in poor seed crop

    years. 82 Fed. Reg. at 30537-39.

         87.   Grizzly bears in the Yellowstone region rely heavily on

    meat from ungulates for their diet. 81 Fed. Reg. 13,178; FWS-LIT-

    019231; FWS-LIT-016353. Grizzly bears in the Yellowstone region

    consume winter-killed elk, deer, and bison in the early spring as

    carrion. FWS-LIT-016353. Grizzly bears also kill elk, deer, and bison

    calves opportunistically, consume hunter-killed carcasses or gut

    piles, and prey upon adults weakened during the fall breeding

    season. FWS-LIT-016353. Elk and deer numbers in the Yellowstone

    region are in decline. FWS-Emails-061496; FWS- Emails-033882.

    The grizzly bear’s reliance on ungulate populations in the

    Yellowstone region faces uncertainties due to brucellosis (and

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    resulting management practices), chronic wasting disease,

    competition from other top predators, and decreasing winter

    severity, which decreases the availability of spring carrion. 82 Fed.

    Reg. at 30,536–37.

    Response: Disputed. Grizzly bears do not rely “heavily” on meat.

    Meat accounts for around 44% of the Greater Yellowstone Ecosystem

    grizzly bear diet, which is similar to the NCDE where they eat

    approximately 38% and 56% for females and males, respectively.

    FWS_LIT_016353; 82 Fed. Reg. at 30518. The source cited by

    Plaintiffs actually states that “[p]rotein and fat from ungulate

    carcasses ranks as the second-highest food source of gross caloric

    value available to grizzly bears in the [Greater Yellowstone

    Ecosystem]…Winter-killed ungulates, primarily elk and bison,

    provide an important source of protein to bears, especially during

    early spring before most plant food become available. As an

    alternative to carcasses as a spring food, grizzly bears also consume

    earthworms, ants, and pocket gophers. Grizzly bears continue to

    opportunistically forage for animal matter and scavenge carrion

    throughout the active season and will seek out gut piles and other


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    remains left by ungulate hunters in the fall.” FWS_LIT_016353

    (citations omitted). FWS disputes much of Plaintiffs’ final sentence.

    The 2017 Rule acknowledged that ungulate populations are

    threatened by brucellosis, but determined that brucellosis “does not

    affect bison as a food source for grizzly bears.” 82 Fed. Reg. at 30537.

    FWS also noted that chronic wasting disease is “fatal to deer and elk

    but has not been detected in the [Greater Yellowstone Ecosystem],

    and, as transmission is density-dependent…, [the disease] would not

    result in local extinction of deer or elk populations.” Id. (citation

    omitted). FWS finally noted that neither of these diseases is likely to

    impact availability of ungulate carcasses such that the diseases are a

    threat to the Greater Yellowstone Ecosystem grizzly bear population.

    Id. FWS also concluded that any reduction of winter-killed ungulates

    as a result of decreasing winter severity “may be buffered by an

    increase of availability of meat to adult grizzly bears during the

    active season as a result of grizzly bears usually prevailing in

    usurping wolf-killed ungulate carcasses…Therefore, fluctuations in

    the availability of ungulates are not a threat to the [Greater




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    Yellowstone Ecosystem] grizzly bear population now or in [the]

    foreseeable future.” Id.

         88.   Grizzly bears in the Yellowstone region rely on whitebark

    pine seeds and army cutworm moths, which provide an important

    source of fat and protein. 81 Fed. Reg. at 13,178; FWS- LIT-016355;

    FWS-LIT-016356.

    Response: Partially disputed. As an initial matter, the “ability to

    use whatever food resources are available is one reason grizzly bears

    are the most widely distributed bear species in the world.” 81 Fed.

    Reg. at 13177-78. “They opportunistically seek and consume

    whatever plant and animal foods are available to them.” Id. at

    13178. Thus, grizzly bears are not reliant on any particular food

    source. Plaintiffs again cite the 2016 draft rule, which states that

    “[d]ue to their high fat content, whitebark pine seeds can be an

    important fall food for bears in the [Greater Yellowstone Ecosystem]

    when they are available.” 81 Fed. Reg. at 13178 (emphasis added).

    The draft rule goes on to state that “[n]early one third of grizzly bear

    home ranges in the [Greater Yellowstone Ecosystem] do not contain

    any whitebark pine. Bears in these areas consume other foods even

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    during years of good whitebark pine production.” 81 Fed. Reg. at

    13178 (citation omitted). Regarding army cutworm moths, the final

    draft of the 2016 Conservation Strategy provides that, “[w]hen

    available, moths are a valuable source of nutrition for grizzly bears

    because they have the highest reported gross caloric content per

    gram of any food available to grizzly bears in the [Greater

    Yellowstone Ecosystem].” FWS_LIT_016355.

         89.   Whitebark pine seeds are an important food source for

    grizzly bears in the Yellowstone region. 81 Fed. Reg. 13,178; FWS-

    LIT-019231; FWS-LIT-016356. Grizzly bears consume whitebark

    pine seeds because of their high fat content. Id. Grizzly bears that

    have whitebark pine seeds in their home range may feed

    predominantly on the seeds when production levels are high

    (exceeding 20 cones per tree). Id. Approximately two-thirds of grizzly

    bear home ranges in the Yellowstone region contain whitebark pine

    seeds. Id. During years of high seed production, white bark pine

    seeds can make up as much as 51 percent of a grizzly’s source of

    protein. FWS-LIT-016075. The species of pine is currently warranted

    for listing under the ESA due to high levels of mortality from white

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    pine blister rust, mountain pine beetle, and “less obvious impacts

    from climate change and fire suppression.” 82 Fed. Reg. at 30,537. In

    years of poor whitebark pine seed production, grizzly bears shift

    their diets to consume more meat. Id. at 30,538 (citing Schwartz

    (2014)).

    Response: Partially disputed. Plaintiffs again cite the 2016 draft

    rule, which states that “[d]ue to their high fat content, whitebark

    pine seeds can be an important fall food for bears in the [Greater

    Yellowstone Ecosystem] when they are available.” 81 Fed. Reg. at

    13178 (emphasis added). The draft rule goes on to state that

    “[n]early one third of grizzly bear home ranges in the [Greater

    Yellowstone Ecosystem] do not contain any whitebark pine…Bears

    in these areas consume other foods even during years of good

    whitebark pine production.” Id. (citation omitted).

         90.   Whitebark pine trees are declining in numbers in the

    Yellowstone region. FWS-LIT-016358. More than 70 percent of

    whitebark pine trees are now dead or dying in the Yellowstone

    region due to mountain pine beetles, white pine blister rust, and

    other impacts related to climate change. 76 Fed. Reg. 42,631, 42,635

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    (July 19, 2011) (Service determination that listing whitebark pine as

    threatened or endangered under the ESA is “warranted but

    precluded”); FWS-LIT-018858.

    Response: Disputed. Approximately 75% of mature, cone-producing

    whitebark pine trees experienced mortality since 2002, but mortality

    is lower in younger age classes and recruitment is healthy. Mortality

    of whitebark pine peaked around 2009 and survival levels have been

    relatively stable since then. 82 Fed. Reg. at 30616-17.

         91.   The availability of whitebark pine seeds can influence the

    reproductive and survival rates of grizzly bears on an annual basis.

    FWS-Emails-033883. There is an increased risk of human- caused

    grizzly bear mortality during years of low whitebark pine availability

    because grizzlies are forced to disperse to seek additional food

    sources. FWS-LIT-016356; FWS-Emails-033883. During periods of

    low whitebark pine availability, grizzly bears in the Yellowstone

    region rely more heavily on other food sources, including meat. FWS-

    LIT-016356; FWS-Emails-033883.

    Response: Partially disputed. “[T]he overall fecundity rates during

    the last decade (2002-2011) did not decline when compared with data

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    from 1983-2001. (IGBST 2013, p. 32). This is important because

    fecundity rates are a function of both litter size and the likelihood of

    producing a litter, the two ways in which whitebark pine seed

    production may affect reproduction.” 81 Fed. Reg. at 13214. The

    email cited by Plaintiffs also states that the “IGBC (2013:35)

    concluded that the decline in whitebark pine seeds ‘has had no

    profound negative effects on grizzly bears at the individual or

    population level.’” FWS_Emails_033882. Moreover, there is no

    evidence that grizzly bears have dispersed (i.e., increased home

    range size) in response to declines in whitebark pine. Home range

    sizes have stayed the same (for males) or decreased (for females), 82

    Fed. Reg. at 30507, and movement rates during the fall, when

    whitebark pine is available, have not changed, suggesting that

    grizzly bears are finding alternate foods within their home range, 82

    Fed. Reg. at 30538.

         92.   Grizzly bears in the Yellowstone region rely on cutthroat

    trout for their diet. 81 Fed. Reg. 13,178; FWS-LIT- 019231; FWS-

    LIT-016354. Cutthroat trout are an important food source for grizzly

    bears in the Yellowstone region. FWS-LIT- 016354. The cutthroat

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    trout population in the Yellowstone region is in decline due to the

    introduction of nonnative lake trout, a parasite that causes whirling

    disease, and several years of drought conditions in the region. Id.; 82

    Fed. Reg. at 30,537.

    Response: Partially disputed. Again, the “ability to use whatever

    food sources are available is one reason grizzly bears are the most

    widely distributed bear species in the world.” 81 Fed. Reg. at 13177-

    78. “They opportunistically seek and consume whatever plant and

    animal foods are available to them.” Id. at 13178. “Grizzly bears are

    always sampling new foods so that they have alternative options in

    years when preferred foods are scarce.” Id. Thus, grizzly bears do not

    “rely” on any particular food source. Grizzly bears in the Greater

    Yellowstone Ecosystem do commonly consume cutthroat trout among

    other food sources. 81 Fed. Reg. at 13178. In addition, the decline of

    cutthroat trout peaked in the early 2000s, and only a small

    proportion of the Greater Yellowstone Ecosystem grizzly bear

    population used the resource before its decline. The Greater

    Yellowstone Ecosystem grizzly bear population increased over the

    past 10+ years despite the loss of this food resource. 82 Fed. Reg. at


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    30537, 30540, 30615. Finally, recent surveys show that the ongoing

    effort to control lake trout in Yellowstone lake has led to increases in

    cutthroat trout spawning numbers in some tributary streams. 82

    Fed. Reg. at 30615.

         93.   Army cutworm moths are an important food source for

    grizzly bears in the Yellowstone region. FWS-LIT-016355; FWS- LIT-

    003632. Army cutworm moths aggregate on remote, high elevation

    talus slopes in the Absaroka Mountains, just east of Yellowstone

    National Park. FWS-LIT-016355; FWS-LIT-003623. Grizzly bears

    forage for army cutworm moths on these slopes from mid to late

    summer. FWS-LIT-016355; FWS-LIT-003626-27. Grizzly bears are

    known to congregate at these army cutworm moth sites from mid to

    late summer to forage for moths. FWS-LIT-016355; FWS-LIT-

    003626–27; FWS-Del-Em-162207 (photos of grizzlies congregating at

    moth sites).

    Response: Partially disputed. “When available, moths are a

    valuable source of nutrition for grizzly bears.” FWS_LIT_016355.

    Moreover, army cutworm moths are only available within the home




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    ranges of a portion of the Greater Yellowstone Ecosystem grizzly

    bear population. 82 Fed. Reg. at 30519; FWS_LIT_004493.

         94.   The majority of the army cutworm moth sites are located

    outside Yellowstone National Park. FWS-Del-Em-162167 (map).

    Some of the army cutworm moth sites are located outside the

    Primary Conservation Area (“conservation area”). Id.; see also FWS-

    LIT-027401, FWS-LIT-003623.

    Response: Undisputed.

         95.   Climate change may adversely impact army cutworm

    moths by changing the distribution of plants that the moths feed on

    or the flowering times of the plants. FWS-LIT-016355.

    Response: Partially disputed. The cited page states that “size,

    location and moth abundance of sites fluctuate from year to year due

    to natural variation in environmental factors, such as snow cover.”

    FWS_LIT_016355. Additionally, as noted in the 2017 Rule, the

    “[Greater Yellowstone Ecosystem] plant communities have a wide

    elevational range that would allow for distributional changes…and

    army cutworm moths display foraging plasticity.” 82 Fed. Reg. at

    30537.
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    Increased Reliance on Meat as a Food Source

         96.     As noted, several traditional food sources for grizzly bears

    in the Yellowstone region, including whitebark pine seeds and

    cutthroat trout, have declined in recent years. FWS-Rel-Docs-

    001473. These declines appear to be long term in nature. See FWS-

    LIT-005749–50; FWS-Rel-Docs-001548 (recognizing chronic nature of

    declines).

    Response: Partially disputed. “Grizzly bears are not dependent

    upon whitebark pine seeds for survival, nor do they have a diet that

    is specialized on consumption of these seeds.”

    FWS_Rel_Docs_001473. Moreover, “[g]rizzly bears are resourceful

    omnivores that will make behavioral adaptations regarding food

    acquisition.” Id. “[A]lthough whitebark pine seed production and

    availability of cutthroat trout in the Yellowstone Lake area varied

    dramatically over the last 3 decades due to both natural and human-

    introduced causes…, the [Greater Yellowstone Ecosystem] grizzly

    bear population has continued to increase and expand during this

    time despite these changes in foods.” Id. (citations omitted).




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         97.    As a result of the decline in these foods, Yellowstone

    region grizzly bears have increasingly relied on meat food sources,

    including livestock, and offal and carcasses left by hunters. FWS-

    LIT-005758–59 (2013 Food Synthesis Report, concluding that

    “animal matter can serve as an alternate fall food to whitebark pine

    for grizzly bears in the [Yellowstone region]”); FWS-Rel-Docs- 001471

    (“[I]n years with poor whitebark pine seed production, grizzly bears

    shifted their diets and consumed more meat.”).

    Response: Partially disputed. The Final IGBC Report states that

    “grizzly bears exhibited diet shifts in response to the natural masting

    cycle of whitebark pine, substituting animal matter for pine seeds in

    poor seed years and obtaining fat levels in the alternate diet equal to

    those in good seed years.” FWS_LIT_005758. In other words, grizzly

    bears have been adjusting their food sources based on availability of

    certain sources for years. See FWS_Rel_Docs_001471 (noting that

    this shift in diet was consistent with previous findings from a study

    in 1997).

         98.    However, while livestock and carcasses left by hunters

    may be adequate for bears’ nutritional requirements, bears relying

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    on these food sources risk more deadly conflicts with humans than

    bears relying on other food sources, such as whitebark pine seeds.

    Whitebark pine, for example, occurs in remote, high-elevation areas

    where bears are unlikely to encounter humans. FWS-LIT- 007426

    (study noting “whitebark pine’s high elevation distribution, typically

    in areas more remote from human facilities”); FWS-LIT-005743

    (“Whitebark pine occupies high- elevation sites”). But bears seeking

    livestock and offal necessarily venture closer to the hunters and

    ranchers associated with those food sources. FWS-Pub-Cmt-005973,

    005992–93. Thus, as grizzly bears switch to meat in response to a

    dearth of whitebark pine seeds and other foods, they increasingly

    come into conflict with hunters and ranchers — conflict that often

    proves fatal to bears. FWS-Rel-Docs-001470 (noting that additional

    deaths in years with poor whitebark pine production “are primarily

    due to defense of life encounters and wildlife management agency

    removals of conflict bears”).

Response: Undisputed that the sources cited make these assertions.

However, as the 2017 Rule stated: “FWS acknowledges this component

of the threat from whitebark pine loss, but despite increased mortality


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during poor whitebark pine cone production years, the population trend

has maintained a relatively flat trajectory (IGBST 2012, p.34; Van

Manen 2016a; in litt.).” 82 Fed. Reg. at 30540.

         99.   The switch to meat further poses unique threats to bear

    cubs. As one of the Service’s peer reviewers wrote after reviewing the

    proposed rule: “More meat consumption by adult females with cubs

    in replace of whitebark pine seeds could be a [population] sink if

    accessing these resources results in additional cub mortalities during

    confrontations with other predators or adult male grizzly bears.”

    FWS-Emails-027035. Indeed, the Service has found that cub and

    yearling survival has decreased significantly in recent years,

    “caus[ing] the slowing of population growth since the early 2000s.”

    FWS-Rel-Docs-001544.

    Response: Undisputed that those statements come from the

    documents cited. However, FWS disputes Plaintiffs’ implication that

    decreased cub and yearling survival is connected to grizzly bears’

    consumption of meat when whitebark pine is not available. The 2017

    Rule states in full: “The vital rates that showed the greatest change,

    and caused the slowing of population growth since the early 2000s,


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    are lower cub and yearling survival (i.e., lower recruitment into the

    population). The IGBST investigated if the decline in cub and

    yearling survival could be a function of decline in food resources

    (whitebark pine) or whether associated with grizzly bear density.

    Survival of cubs-of-the-year was lower in areas with higher grizzly

    bear densities but showed no association with estimates of decline in

    whitebark pine tree cover, suggesting that grizzly bear density

    contributed to the slowing of population growth.” 82 Fed. Reg. at

    30611 (emphasis added).

         100. As a result of the switch to meat, grizzly bear conflict

    mortality has climbed to unprecedented levels in recent years. Forty-

    five bears died due to human conflicts in 2015 alone, up from sixteen

    such deaths in 2014; thirty-five died due to conflicts in 2016. FWS-

    LIT-022907 (2015 annual report); FWS-LIT-023609 (2016 annual

    report); FWS-LIT-023478 (2014 annual report).

    Response: Disputed. As an initial matter, it is unclear what

    Plaintiffs are including in their counts of human conflict mortalities.

    The 2014 annual report states that there were 14 human-caused

    mortalities in the DMA during 2014. FWS_LIT_023478. In 2015,

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    there were a reported 43 human-caused mortalities in the DMA.

    FWS_LIT_023609. But, in 2016, there were 31 human-caused

    mortalities in the DMA. FWS_LIT_023615. Moreover, in 2012, there

    were 26 human-caused mortalities in the DMA. FWS_LIT_023373.

    In 2013, there were 17 human-caused mortalities in the DMA.

    FWS_LIT_022524. Thus, human-caused mortality fluctuates from

    year to year. As the population growth rate stabilizes to increases in

    the DMA, the number of bear mortalities would be expected to

    increase as some bears shift outside suitable habitat. 82 Fed. Reg. at

    30513, 30568.

         101. The majority of these deaths occurred because bears were

    depredating livestock or encountering hunters –– in 2015, thirteen

    bears were taken because they were depredating livestock, including

    one cub that was killed accidentally after its mother was captured at

    a “cattle depredation trap site,” while fourteen were taken by

    hunters claiming self-defense. FWS-LIT- 022907. The remaining

    sixteen bears were killed because they were involved in “site

    conflicts;” in most cases, such site conflicts involved bears seeking

    and obtaining human food. FWS-LIT- 022909–14 (Table 16,

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    describing multiple bears killed because they had caused property

    damage and obtained “food rewards”).

    Response: Disputed. The source reports that there were 15 not 13

    livestock-related takes.

         102. The 2016 statistics are similar –– fifteen bears were

    taken by wildlife managers due to livestock depredations, seven were

    taken by hunters claiming self-defense, and thirteen were killed due

    to site conflicts. FWS-LIT-023609 (2016 annual report).

    Response: Undisputed.

         103. In FWS’s June 30, 2017 final rule, FWS failed to account

    for the emerging threat to grizzly bears posed by the dietary shift to

    meat, despite comments from scientists raising this precise issue

    during the public comment period. FWS-Pub- Cmt-005991–93 (Letter

    from David J. Mattson, Ph.D.); FWS- Emails-027035 (peer reviewer

    raising concern that greater meat consumption among females with

    cubs will expose cubs to predation).

    Response: Disputed. FWS addressed these opinions in its response to

    Issues 103 and 104. 82 Fed. Reg. at 30618. There is no scientific

    evidence that this amounts to a threat for the grizzly bear.
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         104. In the final rule, the Service admitted that “[d]uring years

    of low availability of whitebark pine seeds, grizzly bear- human

    conflicts tend to increase,” that these conflicts lead to additional

    deaths, and the deaths “are primarily due to defense of life encounters

    and wildlife management agency removals of conflict bears.” FWS-

    Rel-Docs-001470. But the Service failed to recognize or consider the

    logical connection between the switch to meat and the greater

    numbers of conflict deaths. See id.

    Response: Disputed. As the 2017 Rule notes, the “comment about

    potential future impacts of higher human-caused mortality to grizzly

    bears in years of low whitebark pine production has received much

    attention but is misleading.” 82 Fed. Reg. at 30617. Based on the best

    available science, FWS determined that, although bears shifted to

    lower elevations in years of whitebark pine production, “this elevation

    shift did not itself predispose bears to increased mortality.” Id.

    Instead, they found that bears shifting to nonsecure habitat—or

    habitat that had been altered by humans—were exposed to more risk,

    whereas those bears shifting to lower elevations in secure habitat

    were not subject to increased risk. Id.


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         105. The Service’s analysis of increased bear mortality in poor

    whitebark pine years acknowledged that “[a]pproximately six more

    independent females and six more independent males die across the

    ecosystem in poor versus good whitebark pine years.” FWS-Rel-Docs-

    001470. That analysis, however, was based on a 2013 study

    evaluating data from 2000-2012, before the recent spike in conflicts

    and conflict mortality, and therefore does not accurately gauge the

    emerging threat of bear-human conflicts. See FWS-LIT-005761–62

    (2013 Food Synthesis Report, cited in the final rule); FWS-Rel-Docs-

    001470. The Service never revisited the conclusions of its 2013 study

    in light of recent data indicating a new, upward trend in conflict

    mortality. See FWS-Rel-Docs- 001470.

    Response: Disputed. Based on the best available science and as

    discussed in response to paragraph 100, the data does not indicate a

    “new, upward trend in conflict mortality.” Conflict mortality depends

    in part on the cycle and availability of natural food sources. In years

    with ample food sources, there is lower conflict mortality. Another

    factor is the size of the population. As the population increases and

    the distribution expands, mortalities increase accordingly.


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    High levels of “background” mortality

         106. In the Yellowstone region, grizzly bear mortalities occur

    every year due to multiple sources, including management removals

    to protect livestock interests, illegal poaching, self- defense, natural

    mortalities, and other causes such as vehicle collisions. 81 Fed. Reg.

    at 13,203. On average, approximately 37 grizzlies (15 females and 22

    males) are killed every year due to “background” mortality. Id.

    Response: Partially disputed. FWS adds that once the mortality

    limits for either females or males is met in any year, the state

    regulatory mechanisms closing hunting seasons would apply. 81 Fed.

    Reg. at 13203.

         107. The majority of these mortalities are human-caused. 82

    Fed. Reg. at 30,527–28. From 1980 to 2002, 66 percent of the 290

    known grizzly bear mortalities were human-caused, primarily from

    confrontations with hunters, illegal poaching, defense of life or

    property, accidental mortality from research efforts, or management

    removals to protect livestock. Id. From 2002 to 2014, 76 percent of the

    410 known grizzly bear mortalities were human- caused and FWS is

    seeing an increase in the number of female grizzlies killed each year.

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    81 Fed. Reg. at 13, 205; FWS-LIT- 017029 (map depicting location of

    all known mortalities from 1975-2014).

    Response: Partially disputed. The 2016 draft rule cited by Plaintiffs

    states: “While the number of independent female grizzly bears killed

    by humans each year has increased gradually, human-caused

    mortality occurring in the fall, when bears are at an increased risk of

    conflicts involving hunters, as a proportion of the estimated

    population size has remained relatively constant, particularly for

    females.” 81 Fed. Reg. at 13205.

         108. The preamble to the Service’s rule designating and

    delisting a Yellowstone grizzly segment excludes the extremely high

    levels of mortality from 2015 and 2016. See 82 Fed. Reg. at 30,502.

    Response: Disputed. FWS addressed the 2015 and 2016 mortalities

    in the 2017 Rule in response to Issue 35. 82 Fed. Reg. at 30568-69.

         109. The primary factor affecting grizzly bears at both the

    individual and population level is excessive human-caused mortality.

    81 Fed. Reg. 13,178; FWS-LIT-019231.

    Response: Undisputed.



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         110. Grizzly bears in the Yellowstone region are experiencing

    abnormally high human-caused mortality levels. 82 Fed. Reg. 30,527;

    FWS-Emails-058290. Since 2015, at least 175 bears have been killed

    in the Yellowstone region (including 56 dead grizzly bears in 2017

    (U.S. Geological Survey, 2017 Known and Probably Grizzly Bear

    Mortalities in the Greater Yellowstone Ecosystem,

    https://www.usgs.gov/data-tools/2017-known-and-probable-grizzly-

    bear-mortaLITies-greater-yellowstone-ecosystem (last visited May 9,

    2018)), 58 dead bears in 2016 (FWS-LIT-023609), and 61 dead

    grizzlies in 2015 (FWS-LIT-023255)). Of these, 145 were human-

    caused mortalities, and 27 deaths are either undetermined or remain

    under investigation. Id.; FWS-LIT- 023609; FWS-LIT-023255.

    Response: Disputed. Plaintiffs’ first assertion is unsupported by the

    2017 Rule or cited email. Once again, as the number of bears

    increases due to recovery and their distribution expands into

    unsuitable habitat, the number of mortalities outside the DMA are

    expected to increase. FWS_LIT_017027 (“Higher numbers of

    mortalities can be expected in areas outside the DMA as the grizzly

    bear population expands, particularly in areas on the edge of the


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    range when bears move on to private lands or in areas with higher

    levels of development.”).

    Loss of habitat


         111. Grizzly bears use a variety of habitats in the Yellowstone

    region. 82 Fed. Reg. 30,505. A grizzly bear’s habitat needs are

    generally driven by the search for food, mates, cover, security, or den

    sites. 82 Fed. Reg. 30,505.

    Response: Undisputed.

         112. There are a number of activities occurring in occupied and

    suitable grizzly bear habitat in the Yellowstone region that have the

    potential to adversely affect grizzlies. 82 Fed. Reg. at 30,526–27. This

    includes mineral and energy development, recreation (including

    motorized access), livestock grazing, logging, habitat fragmentation,

    and development. Id. at 30,520–27.

    Response: Undisputed.

         113. Human activities are the primary factor impacting habitat

    security and the ability of bears to find access to food, mates, cover,

    and den sites. 82 Fed. Reg. 30,505. The most effective habitat


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    management tool for reducing grizzly bear mortality is limiting

    human access to occupied grizzly bear habitat. 81 Fed. Reg. 13,178;

    FWS-LIT-019231.

    Response: Partially disputed. Limiting human access is not always

    practical and there are effective management tools to reduce grizzly

    bear mortality discussed in the 2016 Conservation Strategy. See

    FWS_LIT_017070-79.

    Climate change


         114. The best available science reveals the effects related to

    climate change may result in a number of changes to grizzly bear

    habitat in the Yellowstone region, including reduction of snowpack

    levels, shifts in denning times, shifts in the abundance of and

    distribution of important food sources, and changes in fire regimes. 82

    Fed. Reg. at 30,541; FWS-LIT-016158. For example, climate change

    may adversely impact army cutworm moths by changing the

    distribution of plants that the moths feed on or the flowering times of

    the plants. FWS-LIT-016355. The ecological changes resulting from

    climate impacts may also affect the “timing and frequency of grizzly

    bear-human conflicts.” 82 Fed. Reg. at 30,541; FWS-LIT-016158.

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    Response: Partially disputed. As noted in the 2017 Rule, “[m]ost

    grizzly bear biologists in the United States and Canada do not expect

    habitat changes predicted under climate change scenarios to directly

    threaten grizzly bears…These effects may even make habitat more

    suitable and food sources more abundant.” 82 Fed. Reg. at 30541.

    Additionally, FWS_LIT_016355 states: “However, size, location and

    moth abundance of sites fluctuate from year to year due to natural

    variation in environmental factors, such as snow cover.” The

    document refers to natural variation. Climate change may add

    additional variation.

    Recreational trophy hunting

         115. The states of Montana, Wyoming, and Idaho now assume

    primary regulatory authority over the management of the

    Yellowstone grizzly segment. 82 Fed. Reg. at 30,628. Grizzly bears

    inside the segment boundary are now classified as a “game” species.

    82 Fed. Reg. 30,528.

    Response: Partially disputed. Grizzly bears are classified as a game

    species “throughout the [Greater Yellowstone Ecosystem] distinct

    population segment boundaries outside National Parks and the [Wind

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    River Reservation] in the States of Wyoming, Montana, and Idaho.”

    82 Fed. Reg. at 30530.

         116. Grizzly bears that travel inside or remain inside the

    Yellowstone grizzly segment boundary may now be subject to

    recreational hunting, as authorized by the states of Montana,

    Wyoming, and Idaho. 82 Fed. Reg. 30,528. Recreational hunting of

    grizzlies in the Yellowstone region will increase mortality levels above

    and beyond the already high “background” levels. 81 Fed. Reg. at

    13,203 (calculating number of additional mortalities allowed for

    trophy hunters).

    Response: Partially disputed. Private citizens may hunt grizzly

    bears in the Greater Yellowstone Ecosystem if the background

    mortality rate is under the allowable limit, if any hunting quota has

    not been met, and if they have a hunting license issued by State or

    Tribal wildlife agencies, following guidance in the Tri-State

    Memorandum of Agreement. 82 Fed. Reg. at 30528.

         117. The Service’s June 30, 2017 final rule does not restrict

    where the states of Montana, Wyoming, and Idaho may allow

    recreational hunting of grizzly bears outside of National Parks. 82

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    Fed. Reg. 30,531 and 30,533. Recreational hunting may be allowed on

    lands immediately adjacent to Yellowstone and Grand Teton National

    Parks. 82 Fed. Reg. 30,531 and 30,533. There will be no buffers to

    protect bears near the boundaries of Yellowstone National Park and

    the majority of Grand Teton National Park. The National Park

    Service raised concerns about hunting next to our National Parks.

    FWS-Pub-Cmt-004143. Historic data reveals the National Park

    Service’s concerns were justified because hunting routinely occurred

    immediately adjacent to Yellowstone National Park, pre-listing. FWS-

    Del-Em-87913; FWS-Del-Em- 87914 (explaining why the National

    Park Service is “so concerned” with attached map depicting grizzly

    mortalities from trophy hunting immediately adjacent to Yellowstone

    from 1959-1974).

    Response: Disputed. Within the DMA, federal, state, and tribal

    entities “will manage total mortality to ensure all recovery criteria

    continue to be met.” 82 Fed. Reg. at 30531.

         118. Recreational trophy hunting of grizzly bears in the

    Yellowstone region will be allowed in areas where grizzly bears




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    congregate to consume food sources, including moth sites, carcasses,

    root fields, and spawning areas. 82 Fed. Reg. 30,531 and 30,533.

    Response: Partially disputed. “Where grizzly bears congregate” is

    ambiguous.

         119. Recreational hunting may be allowed in important linkage

    zones or connectivity areas used by grizzly bears that disperse outside

    Yellowstone National Park. 82 Fed. Reg. 30,531 and 30,533. The

    Service acknowledged that Montana would need to limit discretionary

    hunting mortality in at least the connection areas between the

    Northern Continental Divide and Greater Yellowstone Ecosystems in

    the Tobacco Root and Highland Mountains, FWS-Del-Doc-009494, but

    Montana refused to commit to this, FWS-Del-Em-0122523.

    Response: Partially disputed. The view of FWS is not reflected in a

    slide prepared by one Service employee. Connectivity is not a recovery

    criteria; however, as noted before, it is desirable and the 2016

    Conservation Strategy addresses encouraging natural connectivity

    between the Yellowstone and other ecosystems. FWS_LIT_017036,

    017066-68.




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          120. Wyoming will allow the use of “baiting” to kill grizzlies

    inside the Yellowstone grizzly segment boundary. See Wyoming Game

    & Fish Dep’t, Chapter 68, Grizzly Bear Hunting Seasons (signed May

    23, 2018) available at

    https://wgfd.wyo.gov/WGFD/media/content/May-CH-68_Final-

    Website.pdf (last visited June 10, 2018).

    Response: Disputed. Plaintiffs’ reliance on extra-record information

    is improper. Moreover, a baiting authorization permit “authorizes the

    use of bait for taking a grizzly bear if the Department determines it is

    necessary to meet management objectives, prevent grizzly bear

    depredation or prevent grizzly bear/human conflicts.”

    https://wgfd.wyo.gov/WGFD/media/content/REGULATIONS_CH68.pd

    f (last visited July 9, 2018).

          121. The grizzly bear mortality limits included in the 2016

    Conservation Strategy have limited applicability –– they do not apply

    to recreational trophy hunting and other forms of grizzly mortality

    outside the demographic monitoring area (“monitoring area”). 82 Fed.

    Reg. at 30,632 (defining term); id. at 30,533 (explaining the mortality

    limits do not apply outside monitoring area); FWS-LIT-017017–20;

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    FWS-Del-Em-0087802. The periphery of the monitoring area and

    areas outside the monitoring area are places where grizzlies are

    showing up in greater numbers, which is needed for dispersal. As

    explained by the Service, there “are increasing numbers of bears now

    outside the [monitoring area] as bears increase on the periphery of

    suitable habitat.” FWS-Del-Em- 00150604; see also FWS-Del-Em-

    0087795 (map showing grizzly distribution beyond monitoring area);

    FWS-LIT-017026, 017029 (maps showing grizzlies and grizzly

    mortalities outside the monitoring area). All grizzly mortalities

    outside the monitoring area –– including mortalities of females and

    dependent young, mortalities from trophy hunting, and background

    mortalities –– are “excluded from consideration.” 82 Fed. Reg. at

    30,555.

    Response: Disputed. FWS clarifies that the “suitable habitat

    contained within the [monitoring area] is sufficiently large to support

    a long-term, viable population such that mortalities outside of the

    [monitoring area] can be excluded from consideration.” 82 Fed. Reg. at

    30555.




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         122. At the states’ request, FWS shrunk the size of the

    monitoring area (the area where mortalities are counted) “from 95,225

    sq km to 49,431 sq km thereby allowing states to decide how they

    manage mortality for bears without any limits outside the

    [monitoring area].” FWS-Del-Em-00122644; see also comparison of

    FWS-Del-Em-145743 (old monitoring area boundary) with 82 Fed.

    Reg. at 30,504 (new monitoring area boundary). The states also

    persuaded FWS to allow 20 percent of the mortalities allocated to

    National Park Service lands (which make up 20 percent of the

    monitoring area) to go to the states for allocation outside of National

    Park Service lands in the monitoring area. FWS-Del-Em-00122644.

    Reducing the size of the monitoring area has a significant impact ––

    for example, 12 grizzly bear mortalities in 2014-2015 would not be

    counted against mortality limits placed on the states based on the

    reduction. FWS- LIT-016431.

    Response: Disputed. 82 Fed. Reg. at 30,504.

         123. Montana has announced plans to allow recreational

    hunting of grizzly bears in the Yellowstone region. FWS-LIT- 019345–

    48. Wyoming has announced plans to allow recreational hunting of

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    grizzly bears in the Yellowstone region. FWS-LIT- 016942. Idaho has

    announced plans to allow recreational hunting of grizzly bears in the

    Yellowstone region. FWS-LIT-019434–38.

    Response: Undisputed.

         124. Wyoming has adopted a regulation opening a grizzly bear

    hunt beginning September 1, 2018. This regulation establishes

    hunting quotas of 1 female and 10 male bears within the monitoring

    area, and 12 bears of any sex outside the monitoring area. 40 Wyo.

    Admin. Rules Ch. 68(6).

    Response: Partially disputed. Wyoming’s regulation sets a collective

    female mortality limit within the monitoring zone not to exceed 1 and

    a male mortality limit not to exceed 10 from September 15-November

    15, 2018. Outside this zone, the mortality limit is set at 12 bears from

    September 1-Novebmer 15. 40 Wyo. Admin. Rule Ch. 68(6).

         125. Idaho has adopted a regulation opening a grizzly bear hunt

    beginning September 1, 2018. See https://idfg.idaho.gov/press/fg-

    commission-approves-grizzly-bear-hunt (last visited June 12, 2018).

    This regulation establishes a hunting quota of one male bear within

    the monitoring area. Id.

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    Response: Undisputed.

    Cumulative threats


         126. During the peer review and comment period, a number of

    scientific experts noted the need for the Service to adequately

    consider and address the synergistic threats facing grizzlies in the

    Yellowstone region. FWS-Pub-Cmt-006108–09; FWS-Pub-Cmt-

    004193; FWS-Rel-Docs-005204; FWS-Rel-Docs-005206.

    Response: Disputed. FWS undertook such an analysis. See 82 Fed.

    Reg. at 30544-45.

         127. The Service admits that many “of the threats faced by

    grizzly bears are interrelated and could be synergistic” and that

    threats “may cumulatively impact” the Yellowstone grizzly segment.

    82 Fed. Reg. at 30,544.

    Response: Partially disputed in that the 2017 Rule states that the

    “principal threats assessed in previous sections may cumulatively

    impact the [Greater Yellowstone Ecosystem] grizzly bear population

    beyond the scope of each individual threat.” 82 Fed. Reg. at 30544. In




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    other words, FWS must consider separately how those threats

    interact together to affect the grizzly bear.

         128. Yet, the Service concluded that no cumulative threats

    exist. 82 Fed. Reg. at 30,544. FWS used population trend data as a

    metric for assessing cumulative threats. 82 Fed. Reg. at 30,544.

    Response: Undisputed that FWS concluded that, given that the

    “[Greater Yellowstone Ecosystem] grizzly bear population’s trend has

    been relatively constant with no evidence to date of a decline, and

    range extent has continued to expand,” no cumulative threats exist.

    82 Fed. Reg. at 30544.

    Inadequate Regulatory Mechanisms


         129. Simultaneous with the Service’s June 30, 2017 final rule,

    FWS appended Revised Demographic Recovery Criteria and referred

    to the 2016 Conservation Strategy to provide guidance for post-

    delisting management of grizzly bears in the Yellowstone region. 82

    Fed. Reg. 30,502.

    Response: Undisputed.

    Revised Recovery Plan Criteria


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         130. Concurrent with the publication of the Service’s delisting

    rule, the Service revised the demographic recovery criteria from the

    1993 recovery plan. 82 Fed. Reg. 502; FWS-LIT- 016422.

    Response: Undisputed.

         131. Revised demographic recovery criterion number one

    provides: “Maintain a minimum population size of 500 grizzly

    bears” and “at least 48 females with cubs-of-the-year within the

    Demographic Monitoring Area (“[monitoring area]”).” FWS-LIT-

    016423. Revised demographic recovery criterion number two

    provides: “Sixteen of 18 bear management units within the

    Recovery Zone . . . must be occupied by females with young, with no

    2 adjacent bear management units unoccupied, during a 6-year sum

    of observations.” FWS-LIT-016425. Revised demographic recovery

    criterion number three provides: “Maintain the population within

    the [monitoring area] around the 2002-2014 model-averaged Chao2

    population estimate (average = 674; 95% [Confidence Interval

    (“CI”)] = 600-747; 90% CI = 612-735) by maintaining annual

    mortality limits for independent females, independent males, and

    dependent young.” FWS-LIT-016426.

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    Response: Undisputed.

         132. Revised demographic recovery criterion number one was

    changed to no longer specify which scientific method must be used

    to assess the criterion. FWS-LIT-016429. As explained by Chris

    Servheen, the Service’s former grizzly bear recovery coordinator,

    changes to the methods used could potentially allow hundreds of

    additional bears to be killed even though the on-the- ground

    population remains unchanged. FWS-Del-Em-00144611 (comment

    1). “This is the Chinese menu approach, picking what you want

    from various options” and “biologically and legally indefensible.” Id.

    Response: Disputed. Plaintiffs cite the opinion of one Service

    employee. In fact, as explained in the Grizzly Bear Recovery Plan

    supplement, the current accepted method “used to estimate

    population size is the model-averaged Chao2 population estimator

    and this method will continue to be used until another scientifically

    valid method is developed. [FWS] eliminated the criterion’s

    dependence on a specific method (e.g., Chao2) so that the IGBST

    can rapidly implement improved scientific methods as they become




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    available in the peer reviewed literature,” rather than having to

    amend the Recovery Plan once again. FWS_LIT_016429.

         133. Revised demographic recovery criterion number three

    was changed to reflect levels of mortality that will result in

    maintaining the population around the 2002-2014 population size,

    rather than applying an approach that would limit mortality to

    assure the population would be stable to increasing with 95%

    confidence and only a 5% chance of population decline. FWS-LIT-

    016430.

    Response: Disputed. This approach was taken because “there are

    several indications the population is at or approaching carrying

    capacity within the DMA and population growth has slowed…[and

    FWS found that], managing human-caused mortality at levels that

    will maintain the population within the DMA at the average size

    since 2002 is reasonable and biologically sound.” FWS_LIT_016430.

    The 2016 Conservation Strategy & Tri-State Memorandum of
    Agreement

         134. Prior to the publication of the Service’s June 30, 2017

    final rule, the Yellowstone Ecosystem Subcommittee of the IGBC


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    finalized the 2016 Conservation Strategy to guide post-delisting

    monitoring and management of the grizzly bear in the Yellowstone

    region. 82 Fed. Reg. 30,502; FWS-LIT-016272.

    Response: Undisputed.

         135. The 2016 Conservation Strategy identifies a Primary

    Conservation Area (“conservation area”) and adjacent areas where

    occupancy by grizzly bears is anticipated and acceptable. FWS-LIT-

    016278. The 2016 Conservation Strategy describes management

    direction for the conservation area and adjacent areas within the

    Yellowstone region. FWS-LIT-016278. State grizzly bear

    management plans, forest plans, and other appropriate planning

    documents provide management direction for the adjacent areas

    outside the conservation area. FWS-LIT-016278.

    Response: Undisputed.

         136. The vision of the 2016 Conservation Strategy provides:

    “[1] The [conservation area] will be a secure area for grizzly bears,

    with population and habitat conditions maintained to ensure a

    recovered population is maintained for the foreseeable future and to

    allow bears to continue to expand outside the [conservation area][; 2]

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    Outside the [conservation area], grizzly bears will be allowed to

    expand into biologically suitable and socially acceptable habitats[; 3]

    Outside of the [conservation area], the objective is to maintain

    existing resource management and recreational uses and to allow

    agencies to respond to demonstrated problems with appropriate

    management actions[; 4] Outside of the [conservation area], the key

    to successful management of grizzly bears lies in bears utilizing

    lands that are not managed solely for bears but in which their needs

    are considered along with other uses[; 5] Manage the [Yellowstone

    region] grizzly bear population within the area called the

    Demographic Monitoring Area (“[monitoring area]”), to ensure a

    recovered population in accordance with the established Recovery

    Criteria[; 6] Expand public information and education efforts[; 7]

    Provide quick responsive management to address grizzly bear

    conflicts[; and 8] Manage grizzly bears as a game animal; including

    allowing regulated hunting when and where appropriate.” FWS-LIT-

    016279–80.

    Response: Undisputed.




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         137. State grizzly bear management plans for the States of

    Montana, Wyoming, and Idaho are formally incorporated into the

    2016 Conservation Strategy. FWS-LIT-016280.

    Response: Undisputed

         138. The 2016 Conservation Strategy states that it is “the goal

    of the agencies implementing the Conservation Strategy to manage

    the Yellowstone grizzly bear population within the [monitoring area],

    to ensure a recovered population in accordance with the established

    Recovery Criteria.” FWS-LIT-016281.

    Response: Undisputed.

         139. The 2016 Conservation Strategy provides that habitat

    standards identified in the Conservation Strategy will be maintained

    at identified levels within the conservation area and that the goal of

    the habitat management agencies is to maintain or improve habitat

    conditions existing as of 1998 while maintaining options for

    management of resource activities at approximately the same level as

    existed in 1998. FWS-LIT-016282.

    Response: Undisputed.



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         140. The 2016 Conservation Strategy provides that the

    management of grizzly bear-human conflicts inside the conservation

    area is based upon the existing laws and authorities of the state

    wildlife agencies and federal land management agencies and

    management of conflicts outside the conservation area will be

    directed by state management plans. FWS-LIT- 016283. The 2016

    Conservation Strategy states that, “[i]n circumstances that result in

    a nuisance bear situation outside the [conservation area], more

    consideration will be given to existing human uses” than to the

    grizzly bear and its habitat needs. FWS- LIT-016284. “Past conflict

    management has demonstrated that grizzly bears can coexist with

    most human activities.” FWS-LIT- 016284.

    Response: Undisputed.

         141. The 2016 Conservation Strategy is implemented by the

    Yellowstone Grizzly Bear Coordinating Committee, which replaces the

    Yellowstone Ecosystem Subcommittee of the IGBC. FWS-LIT- 016285.

    The Yellowstone Grizzly Bear Coordinating Committee consists of

    representatives from federal land management agencies, state wildlife




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    agencies, local government, and tribal representatives. FWS-LIT-

    016286.

    Response: Undisputed.

         142. The 2016 Conservation Strategy formally incorporates a

    Memorandum of Understanding Detailing Agency Agreement to

    Implement the Conservation Strategy (“Tri-State Memorandum of

    Agreement”) as signed by the federal and state agencies

    implementing the plan. FWS-LIT-016290–91.

    Response: Undisputed.

         143. At the same time it published the proposed rule for public

    comment, the Service also published and solicited public comment on

    these two related documents pertaining to the regulatory scheme

    covering Yellowstone region grizzly bears after delisting –– the “Draft

    Conservation Strategy” and the “Draft Tri- State Memorandum of

    Agreement.” 81 Fed. Reg. 13,173 (Mar. 11, 2016) (proposed rule);

    FWS-LIT-016272 (draft Conservation Strategy); FWS-Rel-Docs-

    005215 (draft Memorandum of Agreement).

    Response: Undisputed.



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         144. The draft Conservation Strategy was the most recent

    version of an interagency management plan developed by the

    Interagency Grizzly Bear Study Team’s (“IGBST’s”) Yellowstone

    Ecosystem Subcommittee to address all elements of post-delisting

    grizzly bear management in the Yellowstone region, including

    population monitoring and mortality limits at the time. FWS-Rel-

    Docs-005847. The proposed rule referred to this document as “the

    comprehensive post-delisting management plan for a recovered

    population” and stated that it “will guide post-delisting management”

    of Yellowstone region grizzly bears. FWS-LIT- 019236, 19241.

    Response: Partially disputed. The draft Conservation Strategy was

    developed by the Interagency Grizzly Bear Committee, not the

    Interagency Grizzly Bear Study Team.

         145. The draft Conservation Strategy was not signed or

    finalized at the time the proposed rule was published. After the close

    of public comment on the proposed rule and draft Conservation

    Strategy, the state and federal agencies that constituted the voting

    members of the IGBC’s Yellowstone Ecosystem Subcommittee

    continued to revise and amend the draft Conservation Strategy by

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    majority vote. See FWS-Emails-012520 (September 2017 revision);

    FWS-Rel-Docs-002877 (November 2017 revision); FWS-Rel-Docs-

    002274 (final version as adopted).

    Response: Undisputed.

         146. Significant changes were made to the Conservation

    Strategy during these rounds of revisions, resulting in substantial

    differences between the draft Conservation Strategy released for

    public comment with the proposed rule and the final 2016

    Conservation Strategy referred to in the final rule. Compare FWS-

    LIT-016272 (draft) with FWS-Rel-Docs-002274 (final).

    Response: Disputed. As an initial matter, FWS is not required to

    publish the Conservation Strategy for public comment. Nevertheless,

    FWS did solicit public comment on the draft conservation strategy

    and considered the 665,000 comments received. See 82 Fed. Reg. at

    30547. FWS also considered the opinions of five independent, peer

    reviewers on the draft conservation strategy. See

    FWS_Rel_Docs_005165.

         147. Public comment was not solicited or accepted on

    revisions of the Conservation Strategy after the version released

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    with the proposed rule. See FWS-Rel-Docs-002877 (“We are not

    taking public comment on this revised . . . Conservation Strategy”).

    Response: Partially disputed. FWS is not required to publish this

    document for public comment.

         148. The draft Conservation Strategy provided that the

    “Chao2” population estimator –– which has been used by the IGBST

    since 2002 to estimate the Yellowstone region grizzly bear

    population, set population goals, and determine mortality limits –

         – would continue to be used for post-delisting monitoring of

    Yellowstone region grizzly bears, unless and until the best available

    science recommends an updated protocol. FWS-Rel-Docs- 005889–90.

    The final 2016 Conservation Strategy instead specifies that “[t]he

    IGBST may continue to investigate new methods for population

    estimation as appropriate,” and that Chao2 would be used “for the

    foreseeable future.” FWS-Rel-Docs-002319; FWS-Rel- Docs-001699

    (final 2016 Conservation Strategy, Appendix C).

Response: Disputed. As explained in the Grizzly Bear Recovery Plan

supplement, “the model-averaged Chao2 population estimator…will

continue to be used until another scientifically valid method is

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developed. [FWS] eliminated the criterion’s dependence on a specific

method (e.g., Chao2) so that the IGBST can rapidly implement

improved scientific methods as they become available in the peer

reviewed literature,” rather than having to amend the Recovery Plan

once again. FWS_LIT_016429.

         149. Chao2 is considered a “conservative” method of estimating

    population, meaning it produces relatively low estimates compared to

    other methods. FWS-Rel-Docs-005889–90. Other common

    methodologies such as the “Mark-Resight” method produce much

    larger population counts when applied to the same population. See

    FWS-Pub-Cmt-006038; FWS-Rel-Docs-003725; FWS-Emails-016838.

Response: Undisputed, but FWS clarifies that the “Chao2 estimate

does become increasingly negatively biased with increasing density.” 82

Fed. Reg. at 30564.

         150. Demographic standards including recovery goals,

    mortality thresholds, and emergency status review triggers in the

    final 2016 Conservation Strategy are based on IGBST monitoring

    using the Chao2 population estimate. No provision in the final 2016

    Conservation Strategy requires these figures to be recalibrated if a


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    new population estimate methodology is adopted. See FWS-Emails-

    008546–47, 55–56; FWS-Rel-Docs-002319; FWS- Rel-Docs-001699.

    Response: Disputed. There is not a current proposal to change from

    Chao2.

         151. This issue relating to the final 2016 Conservation

    Strategy’s lack of assurance for recalibration if a new population

    estimation method is adopted, was repeatedly raised as a concern by

    FWS, National Park Service, Peer Reviewers, and public

    commenters, as well as members of the IGBST. See e.g. FWS-Del-

    Doc-011341 (noting that the states’ changes to the draft Conservation

    Strategy regarding recalibration “says no matter what method is

    used to estimate population size, [the states] will manage down to

    600 or so bears. This is completely unacceptable and will not pass

    peer review or the red face test. Chris [Servheen, (former grizzly bear

    recovery coordinator)].”); FWS-Emails-016689 (noting Service’s

    concerns with states’ recalibration language and suggesting

    alternatives); FWS-Emails-019305 (IGBST suggesting language on

    recalibration and noting that “[d]etermining the correlation or

    correction between the model-averaged Chao2 and any new

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    estimation method is critical to maintain the population at the 2002-

    2014 average.”); FWS-Emails-025504 (National Park Service official

    expressing concern with state’s recalibration position: “We firmly

    believe that we would need to recalibrate the minimum population

    threshold if a new method results in a new higher population

    estimate.”). The Service’s Director even expressed his concern that

    the states refused to allow adequate recalibration language to be

    included in the final 2016 Conservation Strategy. See FWS-Emails-

    008546 (former Director Ashe stating: “It is much clearer, and

    frankly scientifically warranted, to just state clearly if the population

    estimator is changed we will recalibrate. Why the states are

    unwilling to make this commitment, frankly, is quite concerning.”);

    see also FWS- Emails-019333 (State of Montana official noting the

    recalibration issue is “a very contentious issue between the states

    and [Service] that was resolved at upper levels by agreeing to

    wording referencing collaboration and adaptive management” and

    that an effort to “go back on this agreement” would “likely be

    detrimental to the [Conservation Strategy] and set us back a long

    ways.”).


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    Response: Partially disputed. FWS_Emails_016689 addresses

    developed site standard, not population estimate.

         152. The Tri-State Memorandum of Agreement is an

    instrument signed by the States of Montana, Idaho, and Wyoming

    that implements portions of the final 2016 Conservation Strategy

    pertaining to mortality management. FWS-Rel-Docs-001293.

    Response: Undisputed.

         153. The Tri-State Memorandum of Agreement commits no

    funding to any grizzly bear management from any signatory State,

    and any State may withdraw entirely from the Tri-State

    Memorandum of Agreement with 180 days’ written notice to the other

    States. FWS-Rel-Docs-001299.

    Response: Partially disputed. The Memorandum of Agreement is not

    a vehicle for funding commitments as those are done by

    appropriations.

         154. The Tri-State Memorandum of Agreement establishes a

    protocol to determine available “discretionary mortality” annually,

    defined as all hunting kills and lethal removals by management

    agencies. Id. Available discretionary mortality is calculated each
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    year by subtracting the previous year’s total grizzly bear mortality

    from the maximum allowable mortality specified by the

    Conservation Strategy. See 82 Fed. Reg. 30,533 (Table 4); FWS-Rel-

    Docs-001296. The States allocate available discretionary mortality

    among themselves on a pro rata basis based on each State’s land

    area within the monitoring area outside National Park Service

    lands. FWS-Rel-Docs-001297.

    Response: Partially disputed. FWS clarifies that if the population

    is less than 600, the Parties will not allow discretionary mortality

    unless necessary to address human safety issues.

    FWS_Rel_Docs_001296. If the population is greater than 600, “if

    total allowable independent male or female mortality is exceeded,

    the number exceeding the total allowable mortality will be

    subtracted from the next year’s discretionary mortality available for

    harvest for that gender.” Id.

         155. The Conservation Strategy and Tri-State Memorandum

    of Agreement’s mortality limits allow for substantially more annual

    mortality among adult males than adult females. At the levels

    corresponding to the current IGBST population estimate, annual

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    mortality is capped at 20% of the adult male population and 9% of

    the adult female population FWS-Rel-Docs-002316.

    Response: Partially disputed. FWS adds that the “higher rate for

    independent males is biologically sound since population growth is

    less sensitive to independent male mortality than to independent

    female mortality.” FWS_Rel_Docs_002316. Moreover, the

    percentages cited by Plaintiffs correspond to a grizzly bear

    population of between 675 and 747 bears. Id. These rates

    correspond with the mortality rate that resulted in population

    stability from 2002-2011. Id.

         156. The Chao2 population estimator bases its estimate

    entirely on the annual count of females with cubs, extrapolating

    other demographics and the total population from that count based

    on fixed coefficients. FWS-Rel-Docs-001699.

    Response: Disputed. Plaintiffs’ citation is incorrect.

         157. The final 2016 Conservation Strategy does not require the

    states and/or Service to use the Chao2 population estimator in

    perpetuity. Use of the Chao2 population estimator will only be used in

    the “foreseeable future” and no definition of that term is provided.

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    FWS-LIT-017129. This means a different method could potentially be

    used in the future. Chris Servheen, the Service’s former grizzly bear

    coordinator, explained that this approach “is fundamentally

    impossible and is biologically and legally indefensible.” FWS-Del-Em-

    0000144611 (comment 1). “If we used the mark-resight estimate

    instead of Chao2, we would get about 1200 bears. If we accept this

    approach, the states could reduce 1200 bears to 683. The 2007

    population estimate using Chao2 was 683, but there were actually

    over 1200 bears in the population in 2007 if we used mark-resight.

    This is the Chinese menu approach picking what you want from

    various options.” Id.

    Response: Partially disputed. As FWS already addressed in response

    to paragraph 132, Plaintiffs cite the opinion of one Service employee.

    In fact, as explained in the Grizzly Bear Recovery Plan supplement,

    the current accepted method “used to estimate population size is the

    model-averaged Chao2 population estimator and this method will

    continue to be used until another scientifically valid method is

    developed. [FWS] eliminated the criterion’s dependence on a specific

    method (e.g., Chao2) so that the IGBST can rapidly implement


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    improved scientific methods as they become available in the peer

    reviewed literature,” rather than having to amend the Recovery Plan

    once again. FWS_LIT_016429. Moreover, the Chao2 population

    estimator is known to be biased low. 82 Fed. Reg. at 30564 (The

    “Chao2 estimate does become increasingly negatively biased with

    increasing density.”).

         158. Neither the Conservation Strategy nor the Tri-State

    Memorandum of Agreement prescribe any limits on grizzly bear

    mortality outside the monitoring area. FWS-Rel-Docs-001298.

    Response: Undisputed.

         159. The Service relied on the Conservation Strategy

    throughout the final rule to offset threats to the Yellowstone region

    grizzly bear population, including, among others, human- caused

    mortality, FWS-Rel-Docs-001459, 001461–63, habitat destruction,

    FWS-Rel-Docs-001454-57, and genetic isolation, FWS- Rel-Docs-

    001511–13. However, the Service never allowed public comment on

    the final 2016 Conservation Strategy. The Service allowed public

    comment on the draft Conservation Strategy issued with the proposed

    rule in March 2016 and reopened the comment process in September

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    2016 to address post-delisting grizzly management measures enacted

    by Montana, Wyoming, and Idaho, which did not include the final

    2016 Conservation Strategy. See generally FWS-LIT-019226; FWS-

    LIT-019315. The Service refused, however, to allow any opportunity

    for public comment informed by the final 2016 Conservation Strategy

    itself. See FWS-Rel-Docs- 001480.

    Response: Disputed. Again, FWS was not required to allow public

    comment on the Conservation Strategy. Nevertheless, it did so and

    considered those public comments in adjusting the Conservation

    Strategy. See 82 Fed. Reg. at 30547.

        160.        The parties to the final 2016 Conservation Strategy

    agreed to adopt changes to the document’s grizzly management

    framework that departed in critical ways from earlier drafts in a

    manner that weakened grizzly protections, and that the public could

    not reasonably have anticipated. Such changes included: (1)

    Abandoning provisions of the draft Conservation Strategy that

    generally required an attempt to resolve grizzly conflicts, including

    livestock depredations, through at least one relocation before killing

    the offending bear, compare FWS-LIT-016367 (draft containing

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    relocation requirements) with FWS-LIT-017073–74 (final omitting

    requirements); (2) Abandoning a commitment to maintain secure

    grizzly bear habitat within a designated 9,210- square-mile

    conservation area at or above levels that existed in 1998, which were

    believed to correlate with an increasing bear population, FWS-LIT-

    016336–37, and instead announcing formation of a planning group to

    propose unspecified “revisions to the 1998 habitat standards” based

    on an asserted need for, among other things, “more administrative

    infrastructure,” FWS-LIT- 017039–40; and (3) Responding to the

    threat that a future change in grizzly population estimation

    methodology could open the door to a dramatic increase in allowable

    grizzly bear mortality under the Conservation Strategy management

    framework by adding a vague assurance that the current estimation

    methodology —the Chao2 estimator — will continue to be used “for

    the foreseeable future.” FWS-LIT-017030.

    Response: Disputed. FWS clarifies that, regardless of the number of

    relocations, “[a]ll known and probable mortalities will be limited by

    the overall mortality limits within the DMA as described in Tables 2

    and Table 4.” FWS_LIT_017028. Additionally, habitat standards and


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    estimation methodology will be in effect for the foreseeable future and

    any “[r]evisions to the Conservation Strategy would be based on the

    best available science, approved by the [Yellowstone Grizzly

    Coordinating Committee], and subject to public comment.” 82 Fed.

    Reg. at 30575.

        161. The Service relied on these weakened measures in the

    final rule to determine that the Yellowstone grizzly segment was not

    threatened under the ESA. See FWS-Rel-Docs-001454–56, 001459–

    60, 001478 (1998 habitat conditions), FWS-Rel-Docs- 001462 (conflict

    removal provisions), FWS-Rel-Docs-001498–99 (reliance on Chao2

    for “foreseeable future”). Notably, the Service extensively relied on

    the Conservation Strategy’s purported maintenance of 1998 habitat

    security conditions to address the threat of grizzly habitat

    destruction within the conservation area notwithstanding the final

    2016 Conservation Strategy’s explicit announcement that this

    requirement would soon be revised. See FWS-Rel-Docs-001454–56,

    001459–60.

    Response: Disputed. Revisions referred to by Plaintiffs are

    discussed in the 2016 Strategy and are in response to increased


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    visitation to National Park Lands. FWS_LIT_017039. As the

    Conservation Strategy discusses, any future management

    modifications will have to consider the best way to strategically

    manage the impacts of more people on the landscape while ensuring

    the continued protection of grizzly bears and their habitat. “Proposed

    modifications will minimize deviations to the 1998 baseline.” Id.

    Additionally, any proposed revisions to the 1998 habitat standards

    will be released for public comment and approved by the Yellowstone

    Grizzly Bear Coordinating Committee.

    Mortality Limits

         162. The final rule and final 2016 Conservation Strategy

    together establish measures that, in the Service’s estimation, will

    address any emerging threats to Yellowstone region grizzly bears

    after the states assume management responsibilities. See FWS- Rel-

    Docs-001448–49 (final rule describing Conservation Strategy). Chief

    among these measures is a set of criteria that purport to maintain

    grizzly mortality below certain thresholds with the ultimate goal of

    “maintain[ing] the population around the long- term average

    population size for 2002-2014 of 674.” FWS-Rel- Docs-001463; see also


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    FWS-Rel-Docs-001470–71 (regardless of the cause of change in the

    population growth rate, “the management response would be the

    same: To carefully manage human-caused mortality based on

    scientific monitoring of the population.”).

    Response: Undisputed.

         163. The final rule and Conservation Strategy set these

    thresholds at different points for three different cohorts of the

    population — independent females, independent males, and

    dependent young — depending on total population size as

    determined by the Chao2 population estimator. FWS-Rel-Docs-

    001464, 002316. For example, the mortality threshold for

    independent females is set at less than 7.6% when the total

    population is estimated to be less than or equal to 674 grizzly

    bears, 9% when the total population is estimated to be 675 to 747

    grizzly bears, and 10% when the total population is estimated to

    exceed 747 grizzly bears. See FWS-Rel-Docs-001464.

    Response: Undisputed.

         164. The Service has claimed that the final rule and

    Conservation Strategy set limits on the total number of grizzly bears

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    that may be killed in a given year and, all threats to bears

    notwithstanding, these limits will prevent any population decline.

    See, e.g., FWS-Rel-Docs-001459 (concluding that “mortality limits will

    preclude population-level impacts” due to bear deaths from livestock

    conflicts). However, the mortality thresholds do not limit the number

    of bears that may be killed due to conflicts with human activities.

    According to the Conservation Strategy, “[a]ny mortality threshold

    will not affect the . . . management of conflict grizzly bears” and

    “[s]tate [grizzly bear management] plans provide for the take of

    conflict bears regardless of the current mortality quota upon

    consultation with all involved agencies.” FWS-Rel-Docs-002328.

    Consistent with this statement, the state management documents

    published with the final rule provide for recreational hunting of

    grizzly bears to be halted when mortality thresholds are reached, but

    provide no similar limitation on management removals — that is,

    bear killing by government agencies in response to conflicts with

    humans. FWS-LIT-005472 (Idaho Proclamation governing grizzly

    bear management), FWS- LIT-016942 (Wyoming Grizzly Bear




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    Management Regulation), FWS-LIT-009400 (Draft Montana Grizzly

    Bear Hunting Regulations).

Response: Disputed. Plaintiffs have removed the word “immediate”

from the quoted portion of the Conservation Strategy. The statement

reads in full: “Any mortality threshold will not affect the immediate

management of bears for human safety concerns or for management of

nuisance bears.” FWS_LIT_017031 (emphasis added). The 2017 Rule

explains that “if the previous year’s total mortality exceeded total

allowable mortality, then any exceedance will be subtracted from

allowable discretionary mortality for the current year.” 82 Fed Reg. at

30532.

         165. Management removals accounted for 43% of human-

    caused bear mortalities between 2002 and 2014, FWS-Rel-Docs-

    001462, and 58.5% of such mortalities in 2015, FWS-LIT-022907.

    Response: Undisputed.

         166. The final rule states that under the Conservation

    Strategy, “[a]ny mortality that exceeds allowable total mortality

    limits in any year will be subtracted from that age/sex class

    allowable total mortality limit for the following year.” FWS-Rel-

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    Docs-001465. But both Wyoming and Idaho’s bear management

    plans state that only “hunting mortality that exceeds total

    mortality limits” will count against the following year’s limit. FWS-

    LIT-005472 (Idaho Proclamation governing grizzly bear

    management), FWS-LIT-016942 (Wyoming Grizzly Bear

    Management Regulation) (emphasis added). Thus, in Wyoming and

    Idaho, where the majority of grizzly bears live and human- bear

    conflicts occur, conflict mortality may exceed the mortality limit

    without reducing the mortality available in the following year. See

    FWS-LIT-005472, 016942.

    Response: Partially disputed. FWS recognizes the discrepancy

    between the Idaho Proclamation and Wyoming Grizzly Bear

    Management Regulation on the one hand and the Memorandum of

    Agreement between Wyoming, Montana and Idaho on the other

    hand. However, the Memorandum of Agreement plainly states that

    if “the population is less than 600, the Parties will not allow

    discretionary mortality unless necessary to address human safety

    issues.” FWS_Rel_Docs_001296. The Memorandum of Agreement

    goes on to say that, “[a]t any population level greater than 600, if


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    total allowable independent male or female mortality is exceeded,

    the number exceeding the total allowable mortality will be

    subtracted from the next year’s discretionary mortality available for

    harvest for that gender.” Id.

         167. The Conservation Strategy states that “there will be no

    discretionary mortality unless necessary for human safety” if the

    annual bear population estimate falls below 600. FWS-Rel-Docs-

    002316. However, the Service and state wildlife agencies consider

    many management removals — including removals of bears that

    depredate livestock — “necessary for human safety.” See FWS-Rel-

    Docs-001462 (“Conflict bears can become a threat to human safety

         . . . if they are not addressed.”); FWS-LIT-033557 (Wyoming

    Grizzly Bear Management Plan) (“Grizzly bears involved in

    livestock depredation often times create human safety risks and

    may be handled as such if the circumstances warrant.”). Self-

    defense kills by elk hunters who encounter grizzly bears are further

    exempt from this lower limit, because FWS does not consider such

    kills “discretionary mortality.” FWS-Rel-Docs- 001465 (defining




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    “discretionary mortality” as “hunting allocation or management

    removals”).

Response: Partially Disputed. Plaintiffs’ allegations are

argumentative.

          168. Under the ESA regime, grizzly bears that depredated

    livestock could be killed “only if . . . [i]t has not been reasonably

    possible to eliminate such threat or depredation by live-capturing and

    releasing unharmed in a remote area the grizzly bear involved.” 50

    C.F.R. § 17.40(b)(1)(i)(C). By contrast, the Conservation Strategy

    permits state wildlife managers to kill conflict bears at their

    discretion “after considering the cause, location, and severity of the

    incident(s),” without any requirement that they first attempt to

    address the conflict by relocating the bear. FWS-Rel-Docs-002369.

    Response: Partially disputed. FWS clarifies that the Conservation

    Strategy states the following: “Removal of conflict bears will be

    carefully considered and counted against the mortality limits for the

    [Greater Yellowstone Ecosystem] as described in the Conservation

    Strategy. Recognizing that conservation of female bears is essential to




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    maintenance of a grizzly bear population, removal of conflict females

    will be minimized.” FWS_Rel_Docs_002369.

         169. The Service expressed their concern with including

    mortality limits that effectively allow for a declining population.

    FWS-Del-Doc-011341 (“We have gone as far as we can go with

    almost nothing in return from the states. We have allowed

    managed population decline and they have not added one thing

    from the specific management responses table we sent them in the

    framework. They want to hunt down to 600, be able to exceed

    mortality limits without any response whatsoever unless the

    population is below 674, and manage down to 600 or so no matter

    what method is used to count bears.”); See also FWS-Del-Em-

    00000122522–23.

    Response: Partially disputed. FWS employee cited expressed

    those concerns. However, FWS’s consideration of the best available

    science is reflected in the 2017 Rule.

    Lacking Remnant Population Analysis

        170.   In the final rule, the Service designated the Yellowstone

region grizzly bear population as a distinct population segment

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(“segment”) and removed it from the list of threatened species under

the ESA. FWS-Rel-Docs-001436. In so doing, the Service recognized

that the U.S. Federal District Court for the District of Columbia had

disapproved an identical use of the ESA’s distinct population

segment language in the case of Humane Society of the United States

v. Jewell, 76 F. Supp. 3d 69 (D.D.C. 2014), but stated that “[w]e

respectfully disagree with the [D.C.] district court’s interpretation of

the [distinct population segement] policy.” FWS-Rel-Docs-001450.

Further, FWS in the final rule explicitly and repeatedly declined to

consider the status of the already listed grizzly bear entity, the

lower-48 grizzly population, or the impact of its Yellowstone grizzly

segment delisting decision on the status or conservation of that

entity, stating that “consideration and analyses of grizzly bear

populations elsewhere in the lower 48 States is outside the scope of

this rulemaking.” FWS-Rel-Docs-001479; accord FWS-Rel-Docs-

001485, 001557.

    Response: Disputed. Plaintiffs imply that FWS cannot identify a

    distinct population segment in an already-listed species and then

    delist that distinct population segment and this is incorrect. The D.C.


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    Circuit determined that the “Service permissibly concluded that the

    Endangered Species Act allows the identification of a distinct

    population segment within an already-listed species, and further

    allows the assignment of a different conservation status to that

    segment if the statutory criteria for uplisting, downlisting, or delisting

    are met.” Humane Soc’y of U.S. v. Zinke, 865 F.3d 585, 600 (D.C. Cir.

    2017).

         171. Approximately one month after the Service issued the final

    rule, the U.S. Circuit Court of Appeals for the District of Columbia

    affirmed the judgment of the D.C. district court in the Humane

    Society case. Humane Soc’y of U.S. v. Zinke, 865 F.3d 585 (D.C. Cir.

    2017); see also 82 Fed. Reg. 57,698, 57,698 (Dec. 7, 2017).

    Response: Undisputed.

         172. On December 7, 2017, the Service published in the

    Federal Register a notice that it was seeking public comment

    concerning “the potential implications for the Greater Yellowstone

    Ecosystem final rule in light of the Humane Society ruling.” 82 Fed.

    Reg. at 57,698. The Service acknowledged that the Humane Society

    ruling “may impact the Greater Yellowstone Ecosystem final rule,

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    which also designated a portion of an already-listed entity as a

    [distinct population segment] and then revised the listed entity by

    removing the [distinct population segement] due to recovery.” Id. The

    Service stated that it “will address public comments and notify the

    public of our conclusions by March 31, 2018,” but that the final rule

    “will remain in effect during this review process.” Id. at 57,699.

    Response: Undisputed.

           173.     The Service ultimately concluded its post-hoc review

    of the final rule on April 30, 2018, when it published in the Federal

    Register a “determination” affirming the Yellowstone grizzly segment

    delisting notwithstanding the Humane Society ruling. 83 Fed. Reg.

    18,737 (Apr. 30, 2018). However, nowhere in this post- hoc

    “determination” did FWS address important questions regarding the

    Yellowstone grizzly segment delisting that are highlighted by the

    Humane Society ruling, including whether the lower-48 grizzly

    population minus the Yellowstone grizzly segment remains a listable

    entity, or whether all remaining grizzly recovery areas in the lower-

    48 might be independently listable as distinct population segments.

    See generally 83 Fed. Reg. at 18,737–43.

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Response: Disputed. This was not a post-hoc determination.

              174.    Nor has the Service addressed such questions in

    other formal analyses of the lower-48 grizzly bear listing. To the

    contrary, in the Service’s August 2011 Five-Year Review of the

    lower-48 grizzly listing prepared under ESA Section 4(c)(2), 16

    U.S.C. § 1533(c)(2) — which appears to mark the Service’s only

    formal consideration whether the lower-48 grizzly listing would

    satisfy requirements for listing as a distinct population segment—

    the Service found the lower-48 listing to satisfy the “significance

    criterion” for distinct population segment listing largely because the

    Yellowstone region represents “an unusual and unique ecological

    setting for the taxon” and because Yellowstone region bears “are

    genetically divergent from nearby adjacent populations.” FWS-LIT-

    016075, 016077. The Service did not analyze whether a lower-48

    listing that carves out and excludes the Yellowstone grizzly segment

    would satisfy distinct population segment listing requirements. See

    id.

    Response: Disputed. 83 Fed. Reg. at 18,737–43.




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    Response to Plaintiff Aland’s Statement of Undisputed Facts

 

        As an initial matter, Federal Defendants object to Plaintiff Aland’s

filing of a separate statement of facts. As noted by Plaintiffs, Robert

Aland, plaintiff in 18-cv-16-DLC, did not coordinate with the other

plaintiffs in preparing their joint statement of facts as required by the

Court. ECF_187:1 n.1; ECF_178_4. Nor did Mr. Aland comply with

Local Rule 56.1(3) in submitting Exhibit A to Plaintiffs’ statement of

facts. See ECF_187-1.

        As noted in Federal Defendants’ Statement of Undisputed Facts,

this case is reviewed in accordance with the provisions of the

Administrative Procedure Act (APA), 5 U.S.C. § 706. See San Luis &

Delta-Mendota Water Auth. v. Jewell, 747 F.3d 581, 601-02 (9th Cir.

2014). Under the APA, “[t]he task of the reviewing court is to apply the

appropriate APA standard of review, 5 U.S.C. § 706, to the agency

decision based on the record the agency presents to the reviewing

court.” Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 743-44 (1985)

(citation omitted); Jewell, 747 F.3d at 601-02 (the ESA does not “supply

a separate standard for our review, so we review claims under [the
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ESA] under the standards of the APA,” including the requirement that

“review is limited to ‘the administrative record already in existence, not

some new record made initially in the reviewing court’”)(citations

omitted). In other words, review is limited to the administrative record

in existence at the time the agency rendered its decision. 5 U.S.C. § 706.

Thus, FWS objects to Plaintiff Aland’s reliance on extra-record sources,

including his own Complaint, to establish “facts.” Nevertheless, Federal

Defendants provide the following responses to Mr. Aland’s Exhibit A to

Plaintiffs’ statement of facts.

General
1. Grizzly bears, the subjects of this litigation, are an iconic species in

      American history and “the great symbol of American wildness.” They

      played a prominent role in the 1804-06 Lewis & Clark Expedition as

      stated in Clark’s contemporaneous journal.

    Response: Undisputed as to the content of the 2017 Rule. The

    second sentence is based on a document outside the administrative

    record and, in any event, is irrelevant to this suit.

      2. Plaintiff has standing, and has satisfied all preconditions, to

         prosecute this citizen suit.


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    Response: Disputed. This statement is a legal conclusion and

    therefore is disputed on that basis. See Administrative Record; 2017

    Rule; and the Memorandum in Support of Federal Defendants’ Cross

    Motion for Summary Judgment.

    3.   This Court has jurisdiction over Plaintiff’s Claims 1, 3, 5, 6, and 7

         and authority to grant the relief requested by Plaintiff.

    Response: Disputed. This statement is a legal conclusion and

    therefore is disputed on that basis. See Administrative Record; 2017

    Rule; and the Memorandum in Support of Federal Defendants’ Cross

    Motion for Summary Judgment.

    Claim 1—Relitigation Precluded by Collateral Estoppel

    4.   On November 17, 2005, Federal Defendants first published in the

         Federal Register a proposed rule to remove ESA protection for the

         Greater Yellowstone Ecosystem population of grizzly bears.

    Response: Undisputed as to the content of the proposed Rule.

    5.   On March 29, 2007, Federal Defendants published in the Federal

         Register a final rule to remove ESA protection for the Greater

         Yellowstone Ecosystem population of grizzly bears (“2007 Final

         Rule”).


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    Response: Undisputed as to the content of 2007 Rule.

    6.   The 2007 Final Rule was challenged in three ESA citizen suits

         filed in 2007, including a suit filed by Plaintiff, Aland v.

         Kempthorne, U.S. District Court, Idaho District, Case No. 1:08-cv-

         00024-EJL (“Aland 2008”). One suit was filed in the Idaho District

         Court; Plaintiff’s suit was filed in the Illinois District Court but

         was transferred to the Idaho District Court; and the third suit (see

         ¶ 8) was filed in this Court.

    Response: Undisputed as to the existence of those lawsuits.

    7.   Federal Defendants requested this Court to transfer the third suit

         to the Idaho District Court, but this Court rejected that request.

    Response: Undisputed as to that lawsuit.

    8.   In 2009 this Court held that the 2007 Final Rule was invalid; and

         in 2011 the U.S. Court of Appeals for the Ninth Circuit

         unanimously affirmed this Court’s decision.

    Response: Disputed. On appeal, the Ninth Circuit reversed the

    district court on the issue of whether FWS reasonably concluded that

    “adequate regulatory mechanisms were in place to maintain a




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    recovered Yellowstone grizzly population after delisting.” Greater

    Yellowstone Coal. v. Servheen, 665 F.3d 1015, 1030-32 (9th Cir. 2011).

    9.   The Ninth Circuit entered its Mandate in Greater Yellowstone on

         January 18, 2012, and its November 22, 2011, judgment in favor

         of plaintiff took effect on January 18, 2012. This Court entered an

         Order on January 20, 2012, confirming its September 21, 2009,

         judgment for plaintiff, except as modified by the Ninth Circuit,

         and closed the case on March 30, 2012.

    Response: Disputed. The order entered on January 20, 2012, orders

    that “summary judgment is entered in favor of the governmental

    Defendants as to Count I of Plaintiff’s Complaint. The United States

    Fish and Wildlife Service rationally concluded that existing

    regulatory mechanisms are adequate to protect a recovered

    Yellowstone grizzly population.” No. 07-134 (D. Mont. Jan. 20, 2012),

    ECF 149.

    10. Federal Defendants, having reviewed the records and opinions of

         this Court and the Ninth Circuit, decided not to request (a) a

         panel rehearing or rehearing en banc by the Ninth Circuit; (b)




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        reconsideration by the Ninth Circuit; or (b) review by the U.S.

        Supreme Court upon writ of certiorari.

    Response: Disputed. On remand, FWS and the regional experts

    extensively researched and analyzed every facet of the grizzly bear’s

    interaction with food resources in the Ecosystem. See, e.g.,

    FWS_LIT_005734; FWS_LIT_000888; FWS_LIT_002293;

    FWS_LIT_003422; FWS_LIT_004485; FWS_LIT_011549;

    FWS_LIT_016502.

    11. Greater Yellowstone was fully, fairly and competently litigated by

        Federal Defendants in this Court and the Ninth Circuit. The

        evidence was set forth in an Administrative Record (“2008 AR”),

        which (a) was compiled by Federal Defendants; (b) contained over

        50,000 pages; and (c) was filed with this Court (and with the Idaho

        District Court in Aland 2008 and the other case) with a

        Declaration executed by Christopher Servheen, Federal

        Defendants’ then-Grizzly Bear Recovery Coordinator, stating that

        it was accurate and complete.

    Response: Disputed. The litigation speaks for itself.




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    12. By letter dated May 24, 2012, only four months after this Court’s

        judgment in Greater Yellowstone became effective (see ¶¶ 9-10),

        Wyoming Governor Matthew Mead requested then-Secretary of

        the Interior Ken Salazar to make another effort to remove the

        Greater Yellowstone Ecosystem grizzly bears’ ESA protection.

    Response: Undisputed as to the content of that letter.

    13. Governor Mead’s May 24, 2012, letter to Secretary Salazar

        erroneously and substantially overstated—by 60%--the State of

        Wyoming’s annual management costs with regard to Greater

        Yellowstone Ecosystem grizzly bears based upon records prepared

        by the State of Wyoming; and Governor Mead, despite being

        advised of the error by Plaintiff, appears never to have corrected

        the error.

    Response: Disputed. Mr. Aland has not presented sufficient

    evidence to allow FWS to verify how Mr. Aland arrived at that

    figure. Whether the Governor correctly stated the costs of Greater

    Yellowstone Ecosystem grizzly bears to the State or not is irrelevant

    because the 2017 Rule is based on the best scientific data available.




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    14. By letter dated July 19, 2012, responding to Governor Mead’s May

        24, 2012 letter, Secretary Salazar stated that Federal Defendants

        would make another effort to remove the Greater Yellowstone

        Ecosystem grizzly bears’ ESA protection.

    Response: Disputed. Secretary Salazar stated that FWS consulted

    with experts “in bear biology and statistics to give careful

    consideration to reexamination of whether the declines in whitebark

    pine poses a threat to grizzly bears” that would warrant continued

    ESA listing. FWS_Rel_Docs_007006. After discussions with the

    agency partners in the Interagency Grizzly Bear Study Team and

    the outside experts, who concluded that the “Yellowstone grizzly

    population was recovered and that declines in whitebark pine do not

    threaten the future of this [g]rizzly population,” FWS informed the

    Governor that it would be looking to build a “strong scientific

    synthesis of all the information” the agency “has on the relationship

    between whitebark pine and grizzly bears in the Yellowstone

    ecosystem and to use this synthesis as a foundation for a new

    proposed decision.” FWS_Rel_Docs_007006-07. FWS also informed




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    the Governor that the synthesis was expected to take around 18

    months to prepare. FWS_Rel_Docs_007007.

    15. On March 11, 2016, Federal Defendants published in the Federal

        Register Endangered and Threatened Wildlife and Plaints;

        Removing the Greater Yellowstone Ecosystem Population of Grizzly

        Bears from the Federal List of Endangered and Threatened

        Wildlife; Proposed Rule, again proposing to remove ESA

        protecting for the Greater Yellowstone Ecosystem grizzly bears

        (“2016 Proposed Rule”).

    Response: Undisputed as to the content of the 2016 Proposed Rule.

    16. Federal Defendants published the 2017 final Rule removing ESA

        protection from Greater Yellowstone Ecosystem grizzly bears in

        the Federal Register on June 30, 2017, effective July 31, 2017.

    Response: Undisputed as to the content of the 2017 Rule.

    17. Federal Defendants relied upon Greater Yellowstone throughout

        the 2017 Final Rule.

    Response: Partially disputed. FWS took Greater Yellowstone into

    consideration when preparing the 2017 Rule. Beyond that, Plaintiff’s

    assertion is ambiguous.


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    18. There have been significant factual developments adverse to

        Federal Defendants since the 2007 Final Rule and the Greater

        Yellowstone decisions, including, among others, increased human-

        caused mortalities of Greater Yellowstone Ecosystem grizzly

        bears, continued loss of food sources (including the lure of Greater

        Yellowstone Ecosystem grizzly bears into highly lethal

        environments as they search for alternate food sources) and

        climate changes; and those developments support retention of

        ESA protection for the Greater Yellowstone Ecosystem grizzly

        bears because those changes indicate that the bears’ chances of

        survival deteriorated to the date of the 2017 Final Rule. For

        example, the States of Idaho, Montana and Wyoming, with

        Federal Defendants’ encouragement, entered into a Memorandum

        of Agreement (“Memorandum of Agreement”) in August 2016 that

        will divvy up annual “discretionary mortalities” (i.e., trophy

        hunting deaths) and reduce the number of Greater Yellowstone

        Ecosystem grizzly bears annually to a minimum level (below the

        current population level) specified in the Memorandum of

        Agreement. The States of Idaho and Wyoming have already


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        adopted hunting seasons for Greater Yellowstone Ecosystem

        grizzly bears. There have been no factual developments in that

        time period that counteract the Memorandum of Agreement or the

        hunting seasons or otherwise increase the Greater Yellowstone

        Ecosystem grizzly bears’ chances of survival; and Federal

        Defendants did not set forth any such changes in the 2017 Final

        Rule.

    Response: Disputed. It appears that Plaintiff is asserting that the

    2017 Rule is not supported by the administrative record and is

    arbitrary and capricious. This is a legal conclusion and is of course

    disputed. Moreover, contrary to Plaintiff’s assertions, the 2017 Rule

    is based on the best available science, which indicates that the

    Greater Yellowstone Ecosystem grizzly population has recovered.

    Federal Defendants dispute Mr. Aland’s generalized assertions about

    grizzly bear mortalities and food sources. Federal Defendants

    addressed these assertions in great detail in the 2017 Rule and in

    response to Plaintiffs’ Statement of Facts. See 2017 Rule and

    Responses to Paragraphs 84-105 (food sources); 106-110 (human

    caused mortalities); 114 (climate change). Regarding hunting,


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    because the Greater Yellowstone Ecosystem population is recovered,

    private citizens may hunt grizzly bears in the Greater Yellowstone

    Ecosystem if the background mortality rate is under the allowable

    limit, if any hunting quota has not been met, and if they have a

    hunting license issued by State or Tribal wildlife agencies, following

    guidance in the Tri-State Memorandum of Agreement. 82 Fed. Reg.

    at 30528. Moreover, under the Memorandum of Agreement, all

    discretionary and human-caused mortality is accounted for in

    establishing the next year’s mortality limits. FWS_Rel_Docs_1465 &

    Table 4. If the population has fewer than 600 bears, the Parties will

    not allow discretionary mortality unless necessary to address human

    safety issues. FWS_Rel_Docs_001296.

    19. There have been significant legal developments adverse to Federal

        Defendants since the 2007 Final Rule and Greater Yellowstone

        decisions, including the decision in Humane Society of the United

        States v. Zinke, 865 F.3d 585 (D.C. Cir. 2017).

    Response: Disputed. The D.C. Circuit determined that the “Service

    permissibly concluded that the Endangered Species Act allows the

    identification of a distinct population segment within an already-


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    listed species, and further allows the assignment of a different

    conservation status to that segment if the statutory criteria for

    uplisting, downlisting, or delisting are met.” Humane Soc’y, 865 F.3d

    at 600. Although the Court found that FWS has the legal authority

    to identify a distinct population segment from within an already-

    listed species, it concluded that FWS did not properly do so in that

    case. The remainder of Plaintiff’s statement is vague and is,

    therefore, disputed.

    20. Over 195,000 comments were submitted by the public pursuant to

        the APA in response to the 2005 Proposed Rule. According to

        statistics prepared contemporaneously by Federal Defendants,

        99.3%, including 90.4% from Idaho, Montana, and Wyoming,

        opposed delisting. Despite that overwhelming sentiment, Federal

        Defendants issued the 2007 Final Rule, which was invalidated in

        the Greater Yellowstone litigation.

    Response: Partially disputed in that, because Mr. Aland is relying

    on documents not in the administrative record before the Court,

    FWS is unable to confirm the 90.4% figure he provides. Moreover,

    Congress requires FWS to make listing determinations on the basis


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    of the best available science regarding five listed factors. 16 U.S.C. §

    1533(a)(1). Public sentiment is not one of those factors.

    21. Defendants justified their disregard of the overwhelming public

        sentiment against delisting on the ground that the public

        comments were not a “vote count” (2008 AR 46683) or a “binding

        referendum.”

    Response: Disputed. Plaintiff is citing documents from an

    administrative record not before the Court. And, again, Congress

    requires FWS to make listing determinations solely on the basis of

    the best available science regarding five listed factors. 16 U.S.C. §

    1533(a)(1). Public sentiment is not one of those factors.

    22. The public submitted over 665,000 comments with regard to the

        2016 Proposed Rule. However, by letter dated November 1, 2017,

        from their Region 6 Office, Federal Defendants informed Plaintiff,

        in a response to a request filed by Plaintiff under the federal

        Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, on May 11,

        2017 (FWS-2017-00784), that Federal Defendants did not prepare

        statistical analyses for those comments comparable to the




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        statistical analyses they prepared for the public comments

        relating to the 2005 Proposed Rule (see ¶ 20).

    Response: Disputed. Mr. Aland appears to be citing to a document

    not in the administrative record (FWS-2017-00784).

    23. Federal Defendants have attempted to justify their disregard of

        the public’s overwhelming sentiment against the 2005 Proposed

        Rule, 2007 Final rule, 2016 Proposed Rule and 2017 Final Rule on

        the ground that for ESA purposes they are only required to

        consider science-based comments. By email dated January 18,

        2017, Federal Defendants’ Region 6 Office informed Plaintiff as

        follows: It is no longer common practice for us to analyze public

        comments in the way you describe since the standard in the

        Endangered Species Act requires us to make determinations

        based on the best scientific and commercial information available.

        However, all comments received during the comment period are

        available to the public on regulations.gov and it is thus possible

        for anyone to determine what proportion of comments received

        agreed with or disagreed with our proposal.




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    Response: Disputed. It is not that FWS is “only required to consider

    science-based comments”; rather, Congress only permits FWS to

    consider the best scientific and commercial data available. In other

    words, if FWS ignored the best available science and made a

    determination based on public sentiment, as Plaintiff proposes, FWS

    would be violating the ESA. Moreover, it appears that Plaintiff is

    citing a document that is not contained in the administrative record.

    Thus, FWS cannot comment on the accuracy of the quoted

    statement.

    24. Federal Defendants’ January 18, 2017, email did not state why

        they abandoned the prior “common practice” of preparing

        statistical analyses of public comments under the APA. It is

        reasonable to assume that the abandonment was a strategic

        decision to avoid drawing judicial attention to the overwhelming

        public sentiment in litigation challenging the 2017 Final Rule.

        Moreover, Federal Defendants’ January 18, 2017 email confirms

        that Federal Defendants in fact did disregard the public’s

        overwhelming sentiment against the 2016 Proposed Rule and

        2017 Final Rule.


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    Response: Disputed. Mr. Aland cites an email that is not in the

    administrative record and does not “confirm” that FWS “disregarded”

    the public’s comments. Plaintiff is also stating an opinion and that

    statement is disputed on that basis. Moreover, FWS considers all

    comments received on a proposed rule. However, as noted above,

    Congress requires FWS to make listing determinations solely on the

    basis of the best available science regarding five listed factors. 16

    U.S.C. § 1533(a)(1).

    25. The public submitted a substantial number of scientific comments

        after the 2016 Proposed Rule in opposition to removing ESA

        protection of Greater Yellowstone Ecosystem grizzly bears. These

        comments were submitted by numerous experienced and highly-

        respected grizzly bear specialists such as the world-renowned

        scientist, Dr. Jane Goodall, who submitted a comment for herself

        and 65 other named experts and renowned grizzly bear expert, Dr.

        David Mattson, who submitted various comments and is relied

        upon by Federal Defendants throughout the 2017 Final Rule.

    Response: Disputed. FWS considered all comments submitted on

    the 2016 Proposed Rule. Plaintiff’s statement that “these comments”


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    or Dr. Mattson’s comments (it’s unclear to what Plaintiff is referring)

    are “relied upon by Federal Defendants throughout the 2017 Final

    Rule” is ambiguous and, therefore, disputed. Moreover, FWS does

    cite Dr. Mattson’s peer-reviewed, published articles in the 2017 Rule.

    FWS did not rely on Dr. Mattson’s public comments to the extent

    that they cite unsupported, unpublished data.

    26. Federal Defendants summarized many of these scientific

        comments in the 2017 Final Rule in the format of 117 “Issues” but

        summarily dismissed those comments without meaningful

        analyses. For example, comments presented by Dr. Mattson, who

        was relied upon heavily elsewhere in the 2017 Final rule, were

        summarily dismissed when those comments contradicted points

        relied upon by Federal Defendants to support the 2017 Rule.

    Response: Partially disputed. As noted above, FWS does cite Dr.

    Mattson’s peer-reviewed, published articles in the 2017 Rule. FWS

    did not rely on Dr. Mattson’s public comments to the extent that they

    cited unsupported, unpublished data. And, in any event, the 2017

    Rule thoroughly analyzed all of the substantive issues raised during

    public comments and the 2017 Rule speaks for itself.


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    27. Grizzly bears at one time roamed in very large numbers across the

        western United States. Estimates between 1800 and the early

        1900s put the number as high as 100,000 but by 1975 the number

        was reduced to fewer than 1,000 almost entirely due to human-

        caused mortalities. In addition, over 98% of their habitat had been

        lost due to population expansion and other causes. As stated in

        the 2017 Final Rule: “With European settlement of the American

        West, grizzly bears were shot, poisoned, and trapped wherever

        they were found, and the resulting range and population declines

        were dramatic.”

    Response: Partially disputed. “Pre-settlement population levels for

    the western contiguous United States are believed to have been in

    the range of 50,000 animals.” 82 Fed. Reg. at 30508.

    28. In 1975 approximately 136-312 grizzly bears in lived in the

        Greater Yellowstone Ecosystem, a vast, mountainous and

        relatively unpopulated area consisting of over 20 million acres in

        northeast Idaho, southwest Montana and northwest Wyoming

        that includes some of America’s most cherished wild lands and

        wildlife.


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    Response: Undisputed that when the grizzly bear was listed in 1975

    the population estimate in the Greater Yellowstone Ecosystem

    ranged from 136 to 312 individuals.

    29. In 1975 Federal Defendants listed grizzly bears in the

        coterminous 48 states as a threatened species under the ESA.

        Federal Defendants considered the five statutory listing factors

        and determined that four of the five were satisfied. Federal

        Defendants did not designate grizzly bears in the Greater

        Yellowstone Ecosystem as a distinct population segment in 1975.

    Response: Undisputed that FWS published a rule in 1975

    designating the grizzly bear in the conterminous United States.

    Undisputed that FWS did not list the Greater Yellowstone

    Ecosystem population as a distinct population segment in 1975

    because the ESA had not yet been amended to include the distinct

    population segment language.

    30. Grizzly bears have one of the lowest reproductive rates among

        terrestrial mammals for a number of reasons, including the late

        age of first reproduction, small average litter size, long intervals

        between litters and cub mortalities.


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    Response: Partially disputed. The cited 2016 Proposed Rule states

    that grizzly bears “have one of the slowest reproductive rates among

    terrestrial mammals, resulting primarily from the reproductive

    factors described above: Late age of first reproduction, small average

    litter size, and the long interval between litters.” 81 Fed. Reg. at

    13177.

    31. The Greater Yellowstone Ecosystem grizzly bear population has

        not crossed the numerical threshold for recovery in the vast

        Greater Yellowstone Ecosystem as indicated by the table included

        in Plaintiff’s statement of facts.

    Response: Disputed. The Greater Yellowstone Ecosystem

    population has recovered. See 2017 Rule. Because Plaintiff’s

    assertions regarding a table are otherwise vague, FWS cannot

    further respond.

    32. Defendants relied in the 2017 Final Rule (and before) upon an

        abstract, unscientific formula (Chao2) to estimate the number of

        bears in the Greater Yellowstone Ecosystem and in total;

        estimates are likely to be erroneously high.




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    Response: Disputed. The Chao2 method has been published and

    peer reviewed. FWS_LIT_06000; FWS_LIT_002244. Also,

    “[s]cientists have long known that the Chao2 method tends to under-

    estimate total numbers of females with [cubs-of-the-year] in the

    population.” FWS_Emails_000007; see also FWS_Rel_Docs_005889-

    90 (Chao2 is considered a “conservative” method of estimating

    population, meaning it produces relatively low estimates compared

    to other methods).

    33. Numerous scientists, biologists, and grizzly bear specialists

        submitted comments (included in the 2008 AR) with regard to the

        2005 Proposed Rule, and a number of those persons set forth

        numerical thresholds to be achieved before the Greater

        Yellowstone Ecosystem grizzly bears could be determined to be

        recovered from the scientific standpoint within the meaning of the

        ESA as summarized in the following table: (table omitted)

    Response: Disputed. To the extent that the data and comments

    cited by Mr. Aland and submitted to FWS over twelve years ago

    remain relevant, FWS would have considered them in preparing the

    2017 Rule. See Administrative Record. FWS is required to assess the


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    status of a species based on the best scientific data available at the

    time of the determination—in this case 2017. FWS did so. See 2017

    Rule and the Memorandum filed by Federal Defendants in support of

    their Cross Motion for Summary Judgment.

    34. The threshold numbers set forth in the 2008 AR were equally

        valid with Regard to the 2016 Proposed Rule and 2017 Final Rule

        due to the (a) absence of any significant factual changes that

        would lower the threshold numbers and (b) occurrence of factual

        changes that probably would increase those numbers such as

        increased human-caused mortalities of Greater Yellowstone

        Ecosystem grizzly bears, continued loss of food sources (including

        the lure of Greater Yellowstone Ecosystem grizzly bears into

        highly lethal environments as they search for alternate food

        sources) and climate changes.

    Response: Disputed. Again, to the extent that the data and

    comments cited by Mr. Aland and submitted to FWS over 12 years

    ago remain relevant, FWS would have considered them in preparing

    the 2017 Rule. See Administrative Record. FWS is required to assess

    the status of a species based on the best scientific data available at


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    the time of the determination—in this case 2017. FWS did so. See

    2017 Rule and the Memorandum filed by Federal Defendants in

    support of their Cross Motion for Summary Judgment.

    35. Numerous scientists, biologists and grizzly bear specialists also

        submitted comments with regard to the 2016 Proposed Rule and

        2017 Final Rule, and a number of those persons set forth

        minimum numerical thresholds to be achieved before the Greater

        Yellowstone Ecosystem grizzly bears could be determined to be

        recovered from the scientific standpoint within the meaning of the

        ESA as set forth in the following table (table omitted).

    Response: Undisputed that the people listed in Mr. Aland’s chart

    submitted comments. Disputed that their comments represent the

    best available science. FWS considered all comments received,

    including those listed by Mr. Aland, and came to a rational

    conclusion based on the agency’s assessment of the best available

    science. See Administrative Record; 2017 Rule; Memorandum in

    support of Federal Defendants’ Cross Motion for Summary

    Judgment.




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    36. Federal Defendants summarily rejected these threshold

        population numbers in the 2017 Final Rule: “We disagree with the

        suggestion that there must be 2,500-5,000 grizzly bears

        throughout the lower 48 States for recovery to be achieved in the

        Greater Yellowstone Ecosystem.” However, Federal Defendants

        did not provide any reasons why they believed these experts were

        wrong.

    Response: Disputed. The numbers cited by Mr. Aland refer to the

    numbers proposed for a lower-48 metapopulation, not just for the

    Greater Yellowstone Ecosystem population. Under the ESA, FWS

    has the authority to identify a distinct population segment and

    assess the conservation status of that distinct population segment.

    FWS considered the comments of those who would have preferred

    that FWS wait until the numbers throughout the lower 48 States

    reached at least 2,500 to delist the Greater Yellowstone Ecosystem

    population. Contrary to Plaintiff’s assertions, the 2017 Rule goes into

    great length about the designation of the Greater Yellowstone

    Ecosystem population as a distinct population segment and the




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    status of that population. See 2017 Rule; Memorandum in support of

    Federal Defendants’ Cross Motion for Summary Judgment.

    37. The Greater Yellowstone Ecosystem has not reached its carrying

        capacity for grizzly bears and can accommodate the additional

        grizzly bears needed for a recovery within the meaning of the

        ESA. Federal Defendants agree, stating in the 2017 Final Rule

        that “regarding carrying capacity, this has never been one of our

        recovery criteria.”

    Response: Disputed. As an initial matter, Federal Defendants

    dispute the assertion that more bears are “needed for a recovery.”

    When FWS issued the 2017 Rule, the science-based habitat recovery

    criteria had been met since 2007. 82 Fed. Reg. at 30510. As the 2017

    Rule notes, “[r]ecovery under the [ESA] does not require restoring a

    species to carrying capacity….” 82 Fed. Reg. at 30555. Moreover, the

    statement quoted by Plaintiff goes on to say: “While there are

    multiple lines of evidence suggesting the population is at or near

    carrying capacity…we have not used this information to assess

    recovery. Instead, this information has helped us understand some of

    the more recent demographic changes the IGBST has documented,


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    such as a lower population growth rate between 2002 and 2011….”

    82 Fed. Reg. 30558.

    38. It is critical for the long-term survival of GY grizzly bears to

        terminate their isolated status and reconnect with other grizzly

        bear populations, especially the significant Northern Continental

        Divide Ecosystem population.

    Response: Disputed. Connectivity is not necessary, though it is

    desirable and the 2016 Conservation Strategy addresses encouraging

    natural connectivity between the Greater Yellowstone Ecosystem

    and other ecosystems. FWS_LIT_017036, 017066-68

    39. Plaintiff adopts as if fully set forth herein the undisputed facts set

        forth in the statement of undisputed facts to be filed on or before

        June 13, 2018, by Organization Plaintiffs with regard to Claim 6.

    Response: Federal Defendants adopt as if fully set forth herein

    their responses to all paragraphs Mr. Aland may be referring to.

    40. Plaintiff adopts as if fully set forth herein the undisputed facts set

        forth in the statement of undisputed facts to be filed on or before

        June 13, 2018, by Organization Plaintiffs with regard to Claim 7.




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    Response: Federal Defendants adopt as if fully set forth herein

    their responses to all paragraphs Mr. Aland may be referring to.



DATED: July 11, 2018.


                               Respectfully submitted,


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                     CERTIFICATE OF SERVICE
      I hereby certify that on July 11, 2018, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF System which
will send notification of such filing to the attorneys of record.


                                          /s/ Coby Howell
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